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    A COMBINED HEARING TO CONSIDER THE ADEQUACY OF THIS DISCLOSURE
    STATEMENT ON A FINAL BASIS UNDER SECTION 1125 OF THE BANKRUPTCY
    CODE AND CONFIRMATION OF THE PREPACKAGED PLAN WILL BE SET BY
    THE BANKRUPTCY COURT AFTER THE PETITION DATE. THE DEBTOR
    RESERVES THE RIGHT TO AMEND, SUPPLEMENT OR OTHERWISE MODIFY
    THIS DISCLOSURE STATEMENT PRIOR TO AND UP TO THE DATE OF SUCH
    HEARING.

    THIS DISCLOSURE STATEMENT IS BEING USED FOR THE SOLICITATION OF
    VOTES WITH RESPECT TO THE PREPACKAGED PLAN, INCLUDING THE
    SOLICITATION OF PRE-PETITION VOTES, BUT HAS NOT YET BEEN
    SUBMITTED FOR APPROVAL OR APPROVED BY THE BANKRUPTCY COURT;
    SUCH APPROVAL WILL BE SOUGHT AFTER THE PETITION DATE IN
    ACCORDANCE WITH THE APPLICABLE PROVISIONS OF THE BANKRUPTCY
    CODE. THE INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT TO
    CHANGE. THIS DISCLOSURE STATEMENT IS NOT AN OFFER TO SELL ANY
    SECURITIES AND IS NOT SOLICITING AN OFFER TO BUY ANY SECURITIES.


                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

SECURITY FIRST CORP.,                                          Case No. 20-12053 (BLS)

                        Debtor.1

         DISCLOSURE STATEMENT FOR THE PRE-PACKAGED CHAPTER 11
             PLAN OF SECURITY FIRST CORP. DATED AUGUST 29, 2020

                              SULLIVAN · HAZELTINE ·ALLINSON LLC
                                 William D. Sullivan (No. 2820)
                                 William A. Hazeltine (No. 3294)
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                     Proposed Attorneys for Debtor and Debtor in Possession

Dated: August 31, 2020

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 The Debtor’s last four digits of its U.S. federal tax identification number are 6286. The address for the
Debtor’s headquarters is 27762 Antonio Parkway, Suite L1 #442 Ladera Ranch, CA 92694, although the
Debtor no longer maintains a physical office.
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                                        DISCLAIMERS

        This Disclosure Statement provides information regarding the Prepackaged Plan of
Reorganization of Security First Corp. dated August 29, 2020 (the “Plan”) that the Debtor
is seeking to have confirmed by the Bankruptcy Court. The information contained in this
Disclosure Statement is included for purposes of soliciting acceptances to, and confirmation
of, the Plan and may not be relied on for any other purpose. This Disclosure Statement has
not yet been submitted for approval or approved by the Bankruptcy Court; such approval
will be sought after the Petition Date in accordance with the applicable provisions of the
Bankruptcy Code.

       This Disclosure Statement contains summaries of certain provisions of the Plan,
certain statutory provisions, certain documents relating to the Plan, and certain financial
information. Although the Debtor believes that these summaries are fair and accurate and
provide adequate information with respect to the documents summarized, such summaries
are qualified to the extent that they do not set forth the entire text of, or are inconsistent with,
such documents.

        Distribution projections and other information contained herein and attached hereto
are estimates only, and the timing and amount of actual distributions to holders of allowed
claims may be affected by many factors that cannot be predicted. Therefore, any analyses,
estimates or recovery projections may or may not turn out to be accurate. Although the
Debtor has made every effort to be accurate, the financial information contained herein has
not been the subject of an audit or other review by an accounting firm. In the event of any
conflict, inconsistency, or discrepancy between the terms and provisions in the Plan, this
Disclosure Statement, the exhibits annexed to this Disclosure Statement, or the financial
information incorporated herein or therein by reference, the Plan shall govern for all
purposes. All holders of claims should read this disclosure statement and the Plan in their
entirety before voting on the Plan.

       No legal or tax advice is provided to you by this Disclosure Statement. The Debtor
urges each holder of a claim or an interest to consult with its own advisors with respect to
any legal, financial, securities, tax or business advice in reviewing this disclosure statement,
the plan and each of the proposed transactions contemplated thereby.

      This Disclosure Statement does not constitute, and may not be construed as, an
admission of fact, liability, stipulation, or waiver.

        No reliance should be placed on the fact that a particular claim or projected objection
to a particular claim is, or is not, identified in the Disclosure Statement. The Distribution
Trustee and the Reorganized Debtor may seek to object to claims after the confirmation or
Effective Date of the Plan irrespective of whether the Disclosure Statement identifies any
such objections to claims. The Plan also reserves for the Reorganized Debtor to bring Rights
of Action (as defined in the Plan) against any entity or party in interest except those
specifically released.




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       This Disclosure Statement contains, among other things, summaries of the Plan,
certain statutory provisions, certain anticipated events in the Debtor’s Chapter 11 Case and
certain documents related to the Plan that are attached hereto and incorporated herein by
reference. Although the Debtor believes that these summaries are fair and accurate, these
summaries are qualified in their entirety to the extent that the summaries do not set forth
the entire text of such documents or statutory provisions or every detail of such events. In
the event of any inconsistency or discrepancy between a description in this disclosure
statement and the terms and provisions of the Plan or any other documents incorporated
herein by reference, the Plan or such other documents will govern for all purposes. The
Debtor does not represent or warrant that the information contained herein or attached
hereto is without any material inaccuracy or omission.

       The statements and financial information contained herein have been made as of the
date hereof unless otherwise specified. Holders of claims and equity interests reviewing this
Disclosure Statement should not infer at the time of such review that there have been no
changes in the facts set forth herein. Although the Debtor has made an effort to disclose
where changes in present circumstances could reasonably be expected to affect materially
the recovery under the Plan, this Disclosure Statement is qualified to the extent certain events
do occur.

        IRS Circular 230 Notice: To ensure compliance with IRS Circular 230, holders of
claims and equity interests are hereby notified that: (a) any discussion of U.S. federal tax
issues contained or referred to in this Disclosure Statement is not intended or written to be
used, and cannot be used, by holders of claims or equity interests for the purpose of avoiding
penalties that may be imposed on them under the Internal Revenue Code; (b) such discussion
is written in connection with the promotion or marketing by the Plan proponents of the
transactions or matters addressed herein; and (c) holders of claims and equity interests
should seek advice based on their particular circumstances from an independent tax advisor.

       This Disclosure Statement has been prepared in accordance with Bankruptcy Code
section 1125 and not necessarily in accordance with Federal or State securities laws or other
non-bankruptcy law. This Disclosure Statement has not been approved or disapproved by
the Securities and Exchange Commission (the “SEC”) or any Federal, State, local or foreign
regulatory agency, nor has the SEC or any other such agency passed upon the accuracy or
adequacy of the statements contained in this Disclosure Statement. Persons or entities
holding or trading in, or otherwise purchasing, selling, or transferring, securities of or claims
against the Debtor should evaluate this Disclosure Statement and the Plan in light of the
purpose for which they were prepared.

        The Debtor makes statements in this Disclosure Statement that are considered
forward-looking statements under the Federal securities laws. Statements concerning these
and other matters are not guarantees of the Debtor’s future performance. Such forward-
looking statements represent the Debtor’s estimates and assumptions only as of the date such
statements were made and involve known and unknown risks, uncertainties, and other
unknown factors that could impact the Debtor’s restructuring plans or cause the actual
results of the Debtor’s business to be materially different from the historical results or from




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any future results expressed or implied by such forward-looking statements. In addition to
statements that explicitly describe such risks and uncertainties, readers are urged to consider
statements labeled with the terms “believes,” “belief,” “expects,” “intends,” “anticipates,”
“plans,” or similar terms to be uncertain and forward-looking. There can be no assurance
that the restructuring transaction described herein will be consummated. Creditors and
other interested parties should see the section of this Disclosure Statement entitled “Risk
Factors” for a discussion of certain factors that may affect the future financial performance
of the Reorganized Debtor.




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                                   ARTICLE I. INTRODUCTION

        1.1.    Purpose of the Disclosure Statement and the Plan.2

        Security First Corp., the debtor and debtor-in-possession in the above-referenced case (the
“Debtor”), submits this disclosure statement (as may be amended, modified or supplemented, the
“Disclosure Statement”), pursuant to section 1125 and 1126 of the Bankruptcy Code, for the sole
purpose of providing adequate information (as defined in section 1125) about the Prepackaged
Chapter 11 Plan of Security First Corp. Dated August 29, 2020 (as may be amended, modified or
supplemented, the “Plan”), which provides for the resolution of outstanding Claims against and
Interests in the Debtor pursuant to the Bankruptcy Code. The Debtor intends to submit this
Disclosure Statement for approval, and the Plan for confirmation, by the Bankruptcy Court at a
combined hearing after the Petition Date. The Debtor will consummate the Plan on the Effective
Date. The summaries of the Plan contained herein shall not be relied upon for any other purpose.
A copy of the Plan is attached hereto as Exhibit 1.
        The purpose of this Disclosure Statement is to enable Creditors whose Claims are Impaired
under the Plan and who are entitled to vote to make an informed decision in exercising their right
to accept or reject the Plan. This Disclosure Statement sets forth certain information regarding the
Debtor’s prepetition operating and financial history, its reasons for seeking protection under the
Bankruptcy Code and the anticipated organization, operations, and financing of the Debtor upon
its successful emergence from bankruptcy protection. This Disclosure Statement also describes
certain terms and provisions of the Plan, certain effects of confirmation of the Plan, certain risk
factors associated with the Plan, the business of the Debtor or Reorganized Debtor, and the
securities that may be issued under the Plan, including the issuance of New Equity to ESW Capital,
LLC (“ESW”), as the Plan Sponsor and the DIP Lender, and the manner in which Distributions
will be made under the Plan. In addition, this Disclosure Statement discusses the confirmation
process and the voting procedures that holders of Claims entitled to vote under the Plan must
follow for their votes to be counted.

              Additional copies of this Disclosure Statement can be accessed free of charge by
requesting such copies from Debtor’s proposed counsel.
                 1.2.   Overview of the Transactions Contemplated by the Plan.

        To implement a comprehensive financial restructuring (the “Restructuring”), the Debtor
will, no later than August 31, 2020, commence a chapter 11 case (the “Chapter 11 Case”) in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). Due to the
prepackaged nature of the Plan, the Debtor intends to commence solicitation with respect to the
Plan prior to the Petition Date. Immediately after the Petition Date, the Debtor will file the Plan,
this Disclosure Statement, and a motion (the “Procedures Motion”) seeking the setting of a
combined hearing on approval of the Disclosure Statement, the Debtor’s solicitation process,
confirmation of the Plan and approval of various procedures related to the foregoing (the
“Procedures Order”). The proposed sponsor of the Plan is ESW Capital, LLC, which is also the

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        Capitalized terms utilized within this Disclosure Statement which are not otherwise defined herein
shall have the meanings ascribed to such terms in the attached Plan.


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Debtor’s DIP Lender. On August 29, 2020, the Debtor, ESW and the SFC Secured Creditors Trust
entered into the restructuring support agreement (together with all exhibits thereto, and as
amended, restated, and supplemented from time to time, the “RSA”), the assumption of which is
subject to a separate motion to be filed on the Petition Date, that sets forth the principal terms of
the Restructuring and requires the parties thereto to support the Plan.
        As set forth in the Plan, the Restructuring contemplates a comprehensive in-court
restructuring of Claims against and Interests in the Debtor that will preserve the going-concern
value of the Debtor’s businesses, deleverage the Debtor’s balance sheet, maximize recoveries
available to all constituents, and provide for an equitable distribution to the Debtor’s stakeholders.
The Plan Sponsor has offered to acquire the Debtor and its data security business. Generally, the
Plan provides for the following:
        (1) the funding of the Cash Consideration by the Plan Sponsor,
        (2) the distribution of Available Cash to holders of Allowed Claims, including the payment
in full of General Unsecured Claims, in accordance with the Plan and the priority scheme
established by the Bankruptcy Code or as otherwise agreed;
        (3) upon the monetization of the Debtor’s Patent Portfolio after the Effective Date pursuant
to the IP Sale Agreement, the distribution of IP Proceeds (i) to the Consenting Lender until the
Consenting Lender Claim is paid in full, and thereafter (ii) to the holders of Allowed Common
Stock Interests on a pro rata basis; and
         (4) the reorganization of the Debtor by retiring, cancelling, extinguishing and/or
discharging all Interests in the Debtor and issuing New Equity in the Reorganized Debtor to ESW,
in its capacity as the Plan Sponsor or an affiliate and, to the extent that it exercises the Subscription
Option, to ESW, in its capacity as the DIP Lender and, to the extent that it exercises the Series A
Preferred Exchange Option, in its capacity as the Series A Preferred Stockholder.
                1.3.  Summary of Treatment of Claims and Interests and Description of
                 Recoveries under the Plan.

       The Plan organizes the Debtor’s creditor and equity constituencies into groups called
“Classes.” For each Class, the Plan describes: (1) the underlying Claim or Interest; (2) the recovery
available to the Holders of Claims or Interests in that Class under the Plan; (3) whether the Class
is Impaired or Unimpaired under the Plan; (4) the form of consideration, if any, that Holders in
such Class will receive on account of their respective Claims or Interests; and (5) whether the
Holders of Claims and Interests in such Class are entitled to vote to accept or reject the Plan.
         The table below provides a summary of the classification, description, and treatment of
Claims and Interests under the Plan. This information is provided in summary form below for
illustrative purposes only and is qualified in its entirety by reference to the provisions of the Plan.
Any estimates of Claims or Interests in this Disclosure Statement may vary from the final amounts
allowed by the Bankruptcy Court. Your ability to receive distributions under the Plan depends
upon the ability of the Debtor to obtain confirmation of the Plan and satisfy the conditions
necessary to consummate the Plan. The recoveries available to Holders of Claims and Interests
are estimates and actual recoveries may materially differ. Indeed, the recoveries available to
Holders of Allowed Claims and Interests could be materially lower when compared to the


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estimates provided below. To the extent that any inconsistency exists between the summaries
contained in this Disclosure Statement and the Plan, the terms of the Plan shall govern.
        For a more detailed description of the treatment of Claims and Interests under the Plan and
the sources of satisfaction for Claims and Interests, see Article IV of this Disclosure Statement,
entitled “Summary of the Plan and Classification and Treatment of Claims and Interests
Thereunder.”

 Class      Designation                Impairment         Entitled to Vote         Projected Plan
                                                                                   Recovery (%)
 Class 1    Consenting Lender          Impaired           Yes                        10%-100%
            Claim
 Class 2    Other Secured Claims       Unimpaired         No (deemed to                 100%
                                                          accept)
 Class 3    Others Priority Claims     Unimpaired         No (deemed to                 100%
                                                          accept)
 Class 4    General Unsecured          Unimpaired         No (deemed to                 100%
            Claims                                        accept)
 Class 5    Series A Preferred         Impaired           Yes                         Unknown
            Stock Interests
 Class 6    Common Stock               Impaired           No (deemed to               Unknown
            Interests                                     reject)
 Class 7    Other Equity Interests     Impaired           No (deemed to                  0%
                                                          reject)

               1.4.    Voting on the Plan.

        Class 1 and Class 5 are impaired and entitled to vote on the Plan. Contemporaneous with
the prepetition commencement of the Solicitation Process, this Disclosure Statement, the Plan and
ballots related to the Plan will be sent to all creditors entitled to vote on the Plan. In addition, as
required by the Procedures Order, required notices of the hearing on approval of the Disclosure
Statement and confirmation of the Plan will be sent to all known creditors and equity holders. In
addition, notice shall be made by publication as approved by the Bankruptcy Court.
               1.5.    Confirmation and Consummation of the Plan.

         Under section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, may
hold a hearing to confirm a plan of reorganization. When the Debtor files the Chapter 11 Case, it
will file the Procedures Motion which, among other things will request the Bankruptcy Court to
set a date and time as soon as reasonably practicable after the Petition Date for a hearing (such
hearing, the “Combined Hearing”) to determine whether the Disclosure Statement contains
adequate information under section 1125(a) of the Bankruptcy Code and whether the Plan should
be confirmed in light of both the affirmative requirements of the Bankruptcy Code and objections,
if any, that are timely filed, as permitted by section 105(d)(2)(B)(vi) of the Bankruptcy Code. The
Combined Hearing, once set, may be continued from time to time without further notice other than
an adjournment announced in open court or a notice of adjournment filed with the Bankruptcy
Court and served on those parties who have requested notice under Bankruptcy Rule 2002 and the



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entities who have filed an objection to the Plan, if any, without further notice to parties in interest.
The Bankruptcy Court, in its discretion and prior to the Combined Hearing, may put in place
additional procedures governing the Combined Hearing. Subject to section 1127 of the
Bankruptcy Code, the Plan may be modified, if necessary, prior to, during, or as a result of the
Combined Hearing, without further notice to parties in interest.
        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to confirmation of the Plan. In the Procedures Motion, the Debtor, will request that
the Bankruptcy Court set a date and time for parties in interest to file objections to the adequacy
of the Disclosure Statement and confirmation of the Plan. All such objections must be filed with
the Bankruptcy Court and served on the Debtor and certain other parties in interest in accordance
with the Procedures Order so that they are received before the deadline to file such objections.
               (a)     Combined Hearing.
       At the Combined Hearing, the Bankruptcy Court will determine whether the Disclosure
Statement contains adequate information under section 1125(a) of the Bankruptcy Code and the
Plan should be confirmed in light of both the affirmative requirements of the Bankruptcy Code
and objections, if any, that are timely filed and subject to satisfaction or waiver of each condition
precedent in Article XIII of the Plan. For a more detailed discussion of the Combined Hearing,
see Article VI of this Disclosure Statement, entitled “Confirmation of the Plan.”
               (b)     Effect of Confirmation and Consummation of the Plan.
        Following entry of the Confirmation Order, and subject to satisfaction or waiver of each
condition precedent in Section 13.2 of the Plan, the Plan will be consummated on the Effective
Date. Among other things, on the Effective Date, certain release, injunction, exculpation, and
discharge provisions set forth in Article XI of the Plan will become effective. Accordingly, it is
important to read the provisions contained in Article XI of the Plan very carefully so that you
understand how entry of the Confirmation Order and the occurrence of the Effective Date of the
Plan—which effectuates such release, injunction, exculpation, and discharge provisions—will
affect you and any Claim or Interest you may hold with respect to the Debtor. These provisions
are described in Section 4.8 of this Disclosure Statement.
               1.6.    Additional Plan-Related Documents.

       The Debtor will file certain documents that provide more details about implementation of
the Plan in the Plan Supplement, which will be filed with the Bankruptcy Court no later than
September 30, 2020. The Debtor will serve a notice that will inform all parties that the initial Plan
Supplement was filed, list the information included therein, and explain how copies of the Plan
Supplement may be obtained.

 THE FOREGOING IS ONLY A GENERAL OVERVIEW OF THIS DISCLOSURE
 STATEMENT AND THE MATERIAL TERMS OF, AND TRANSACTIONS PROPOSED
 BY, THE PLAN AND IS QUALIFIED IN ITS ENTIRETY BY REFERENCE TO, AND
 SHOULD BE READ IN CONJUNCTION WITH, THE MORE DETAILED DISCUSSIONS
 APPEARING ELSEWHERE IN THIS DISCLOSURE STATEMENT AND THE EXHIBITS
 ATTACHED TO THIS DISCLOSURE STATEMENT, INCLUDING THE PLAN.



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    ARTICLE II.      BUSINESS DESCRIPTION, PREPETITION INDEBTEDNESS AND
                          EVENTS LEADING TO CHAPTER 11

        2.1.   The Debtor’s Business.

        The Debtor was formed in 2002 and entered the field of using patented and unpatented
intellectual property to preserve the secrecy and confidentiality of electronic messaging and data.
During its existence, the Debtor has developed or acquired a portfolio of approximately one
hundred patents, most of which relate to encryption technology, data security and its applications
with respect to preserving the secrecy and confidentiality of electronic information. Despite this
extensive portfolio, the Debtor has been unsuccessful in developing commercially viable
applications for its technology.

        In connection with an expansion of funding to the Debtor during the 2014-2015 timeframe,
the Debtor entered into a relationship with IBM Corp., which the Debtor viewed as critical to its
success, both from a technological and financial standpoint. The Debtor expended significant
funds in an attempt to make the IBM relationship successful. To aid that effort, in early 2017, in
connection with the equity and debt reorganization described below, the Debtor decided to replace
its long-term CEO with a former IBM employee, James Varner. By the first quarter of 2019, the
Company had not achieved the results it sought with IBM and the Board of the Debtor decided to
terminate Mr. Varner. On May 31, 2019, IBM notified the Debtor that it was effectively
terminating IBM’s relationship with the Debtor and in July 2019, IBM formally terminated its
relationship with SFC.

       Pankaj Parekh was appointed President and Chief Executive Officer of the Debtor in
November 2019. Around that time, the Debtor terminated almost all of its employees and engaged
a software developer in India to continue software development at a lower cost. The Debtor also
attempted to upgrade its core (security) product as management emphasized that upgrades were
necessary to compete in the marketplace. SFC’s Board advised management that management
should seek new investors to fund the Company or a sale of the Company if they could not find
new investors. In February 2020, the secured lenders notified the Debtor that they would no longer
provide funding to SFC.

        SFC currently has three employees, each of whom is an officer of the company. Mr. Parekh
serves as President and CEO. Aysegul Berenson is the Chief Financial Officer. Rick Orsini is the
Vice President for Software Development.

       The Company is currently managed by a two- person Board of Directors.

       Due to the COVID-19 pandemic, the Debtor no longer maintains an office location. All
three employees work remotely. The Debtor no longer has any hard assets or equipment of any
value.




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       The Debtor maintains one bank account, which holds its nominal remaining operating
funds. The Debtor has been unable to pay the expenses associated with maintaining its intellectual
property assets since the beginning of July 2020.

       The Debtor’s statement of financial affairs to be filed in this case indicates that the Debtor
has generated total revenues of just $92,206 in the past two calendar years, and has relied almost
exclusively on funding from its secured lenders to fund its limited ongoing operations. Other than
through the proposed reorganization transaction (and any future patent sale that is able to be
negotiated following confirmation of the Plan), the Debtor has no expectation of generating future
revenue.

        2.2.   Debtor’s Capital Structure.

       From the time of its formation in 2002 through February 2017 approximately $140 million
was invested in or loaned to the Debtor, the last $70 million of which was in the form of secured
debt.

        In February 2017, the Debtor completed an out-of-court equity and debt reorganization, in
which (i) approximately $70 million of prior-invested equity was converted into a “home run”
warrant, which warrant would have value only if the Debtor’s value increased significantly from
that date, and (ii) holders of the Company’s then-existing secured debt of approximately $70
million converted their secured debt into the Company’s new equity, and (iii) certain of the equity
investors agreed to fund approximately $15 million of additional equity. The full additional equity
commitment was completed in July 2018. Nevertheless, the Debtor’s financial picture did not
improve as anticipated, and shortly after the addition equity infusion was completed, SFC required
additional funding to remain viable.

        Beginning in September 2018, certain of the equity investors (the “Secured Lenders”)
agreed to continue to fund the Debtor, but only pursuant to Promissory Notes secured by all of the
assets of the Debtor. Between September 2018 and February 2020, the Secured Lenders loaned a
total principal amount of $12,975,00 pursuant to such Secured Promissory Notes, which notes
represent the Company’s entire secured debt as of the Petition Date. To date, the Debtor has not
achieved profitability on a GAAP or cashflow basis. As of the Petition Date, the Debtor estimates
that it may possess federal net operating loss carryforwards in excess of $150 million; provided
that these net operating loss carryforwards are subject to limitations and restrictions that may limit
or even eliminate their availability. As of the Petition Date, the Debtor has approximately $25,000
in remaining cash on hand, and no means to repay its secured debt.

       On August 14, 2020, ESW purchased forty three thousand seven hundred (43,700) shares
  of the Company’s Series A Preferred Stock, par value $0.0001 per share (the “Series A Preferred
  Stock”), for $0.5721 per share, for the aggregate purchase price of $25,000.77.

      As of August 28, 2020, the Secured Lenders’ Promissory Notes were assigned to the SFC
  Secured Creditors Trust, which now holds all of the secured debt of the Company.




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        2.3.   Events Leading to Chapter 11 Filing.

        Beginning in the first quarter of 2020 through mid-May, management engaged in a
comprehensive full-scale search for new investments in and/or a purchaser of the Debtor. In
connection with this search, the Company canvassed a wide range of potential partners, including
public companies, private companies, venture capitalists, investment bankers and private equity
firms. Over time, the Company determined that it was unable to attract additional investment; no
existing or potential investor was willing to serve as the lead investor for another round of
investment. It became clear to the Debtor that a sale of the Debtor was the most realistic option,
although most of the companies that were contacted had no interest in the Debtor because it lacked
any existing customers. The Debtor eventually had discussions with several entities regarding
proposals for a potential sale of the Company, including the proposal from ESW. In evaluating
the proposals, SFC determined that the proposal from ESW represented the best possible scenario
for SFC stakeholders, principally its secured and general unsecured creditors.

        On May 27, 2020, after a lengthy series of negotiations, the Debtor entered into a Letter of
Intent with ESW (the “ESW LOI”), in connection with a proposed transaction in which SFC would
become a wholly-owned subsidiary of ESW as part of the Reorganization. The ESW LOI
contemplated that the Debtor file a petition under Chapter 11 of the Bankruptcy Code and seek
Court approval of the Reorganization through confirmation of the Plan.

        The Debtor, ESW, and the SFC Secured Creditors Trust entered into a Restructuring
Support Agreement (the “RSA”) on August 29, 2020 pursuant to which they all agreed to support
the Restructuring Transaction which is set forth in the Plan. Pursuant to the RSA, ESW has agreed
to provide DIP Financing of $1,000,000, to cover the ordinary course operating and administrative
expenses associated with preserving the Debtor’s operations and running a chapter 11 process
through a plan effective date.

        The Plan generally provides for ESW to provide consideration of (i) $6,000,000 in Cash to
be funded by the Plan Sponsor on the Effective Date, plus (ii) additional Cash to be funded by the
Plan Sponsor in an amount equal to the undrawn amount of the DIP Financing as of the Effective
Date. That consideration will be distributed through the Plan to pay administrative, priority and
unsecured creditors in full, and then to the SFC Secured Creditors Trust and the Officers, pursuant
to the Officer Agreements (as discussed further below). Additional consideration will be payable
to the Debtor’s stakeholders from a future sale of SFC’s intellectual property, if such a sale occurs
within seven years following confirmation of the Plan. The additional consideration would be
distributed first to the SFC Secured Creditors Trust, and then if fully satisfied, to the Allowed
Equity Interests on a pro rata basis.

       Pursuant to the Plan, all existing equity of the Debtor will be retired, cancelled,
extinguished and/or discharged and ESW will acquire 100% of the equity of the reorganized
Debtor, in its capacities as the Plan Sponsor, DIP Lender (to the extent that it exercises the
Subscription Option), and the Series A Preferred Stockholder (to the extent that it exercises the
Series A Preferred Exchange Option). A detailed description of the Subscription Option is
contained on page 46 of the Plan, and a detailed description of the Series A Preferred Exchange
Option is contained on page 45 of the Plan.




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        Upon the Effective Date of the Plan, and barring a default in connection with the DIP
Financing, to the extent any amount of outstanding DIP Lender obligations remain after the DIP
Lender exercises the Subscription Option, the remainder of the DIP obligations shall, at the option
of the DIP Lender, either be repaid in cash funded and paid by the Plan Sponsor on the Effective
Date, separately and in addition to the Cash Consideration being paid under the Plan on the
Effective Date, or reduced on a dollar-for-dollar basis by agreement between the DIP Lender and
the Plan Sponsor. In no event will the exercise of the Subscription Option, either in whole or in
part, reduce the amount of the Cash Consideration paid by the Plan Sponsor.

       As noted above, significant sums have been invested in SFC over an 18 year span. SFC
stakeholders are in agreement that additional software development is necessary for SFC product
upgrades, and SFC’s existing investor base is unwilling to be the lead investor in any such funding.
Moreover, absent entry into the Restructuring Support Agreement and filing of the Bankruptcy
Case, there are no funds to pursue further business, and a high likelihood the Secured Lenders
could simply foreclose on their collateral, an outcome which would result in no recovery for
unsecured creditors. Accordingly, SFC and its stakeholders all believe that Reorganization
presents the best scenario for the Company, in order to preserve its assets, pay its creditors and to
provide some return for its secured creditors.

               2.4.    Prepetition Agreements with Officers.

        When it became apparent that the Debtor would not be able to attract additional investment,
SFC’s Board tasked its three officers-- Mr. Orsini, Ms. Berenson and me (hereinafter, the
“Officers”)-- with finding a third-party buyer and negotiating a suitable transaction for the sale of
the Company. The Board orally agreed that the company would pay the Officers additional
compensation in the form of consulting fees if an acceptable transaction was consummated, and
the consulting fees would be payable as a percentage of the net proceeds received by the Company
through the transaction. The Restructuring Transaction negotiated with ESW was accepted by the
Board in the form set forth in the ESW LOI, after which the Board negotiated the appropriate
consulting fee percentages with the Officers and required that they remain with the Company
through the entire Chapter 11 reorganization process. Following these negotiations, each of the
Officers entered into written agreements with SFC (the “Officer Agreements”) on August 29,
2020,3 pursuant to which SFC agrees to pay a percentage of the Remaining Cash (as defined in the
Plan) to each of the Officers. The Officer Agreements also contain mutual releases. Following
the execution of the Officer Agreements, all of the then-existing members of the Company’s Board
resigned from their positions, and two current officers of SFC, Rick Orsini (V.P., Software
Engineering) and Mr. Parekh (CEO) have been appointed as SFC’s new Board members for the
duration of the Bankruptcy Case.




3
  The board that negotiated the Officer Agreements consisted of the same board members who agreed to
the consulting fees in the event of a successful transaction.



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             ARTICLE III.       ADMINISTRATION OF THE CHAPTER 11 CASE

               3.1.    Overview of Chapter 11.

        Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. In
addition to permitting debtor rehabilitation, chapter 11 promotes equality of treatment for similarly
situated holders of claims and equity interests, subject to the priority of distributions prescribed by
the Bankruptcy Code.
        The commencement of a chapter 11 case creates an estate that is comprised of all of the
legal and equitable interests of the debtor as of the filing of a chapter 11 petition. The Bankruptcy
Code provides that the debtor may continue to operate its business and remain in possession of its
property as a “debtor in possession.”
        The consummation of a plan is the principle objective of a chapter 11 case. A plan sets
forth the means for satisfying claims against and interests in a debtor. Confirmation of a plan by
the Bankruptcy Court makes the plan binding upon the debtor, any entity acquiring property under
the plan, any holder of a claim against or equity interest in a debtor and all other entities as may
be ordered by the Bankruptcy Court in accordance with the applicable provisions of the
Bankruptcy Code. Subject to certain limited exceptions, the order approving confirmation of a
plan discharges a debtor, to the fullest extent permitted by applicable law, from any debt that arose
prior to the date of confirmation of the plan and substitutes therefor the obligations specified under
the confirmed plan.
         Pursuant to section 1125 of the Bankruptcy Code, acceptance or rejection of a plan may
not be solicited after the commencement of a chapter 11 case until such time as a bankruptcy court
has approved a disclosure statement as containing adequate information. Pursuant to section
1125(a) of the Bankruptcy Code, “adequate information” is information of a kind, and in sufficient
detail, to enable a hypothetical reasonable investor to make an informed judgment regarding the
plan. The Debtor is submitting this Disclosure Statement in satisfaction of the applicable
disclosure requirements under section 1125 of the Bankruptcy Code.
               3.2.    Debtor’s First Day Pleadings.

        On or before August 31, 2020, the Debtor will commence the Chapter 11 Case by filing a
voluntary petition for relief under Chapter 11 of the Bankruptcy Code. Shortly thereafter, the
Debtor will file various “first day” motions seeking, among other things: (i) authority to incur post-
petition financing and granting certain other related relief; (ii) approval of the Procedures Motion;
and (iii) a motion to set a deadline to file claims against the Debtor.
               3.3.    Debtor’s Second Day Pleadings.

         Contemporaneously with, or shortly following, the filing of the “first day pleadings,” the
Debtor will file certain “second day pleadings” with the Bankruptcy Court. In particular, the
Debtor will file (i) a motion seeking authority to assume the Restructuring Support Agreement and
(ii) an application to approve the retention of Sullivan Hazeltine Allinson, LLP as counsel for the
Debtor.




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            ARTICLE IV. SUMMARY OF PLAN AND CLASSIFICATION AND
              TREATMENT OF CLAIMS AND INTERESTS THEREUNDER

        This Article provides a summary of the structure and means for implementation of the Plan
and the classification and treatment of Claims and Interests under the Plan and is qualified in its
entirety by reference to the Plan (as well as the Exhibits thereto and definitions therein).

        The statements contained in this Disclosure Statement do not purport to be precise or
complete statements of all the terms and provisions of the Plan or documents referred to therein,
and reference is made to the Plan and to such documents for the full and complete statement of
such terms and provisions.

        The Plan itself and the documents referred to therein control the actual treatment of Claims
against and Interests in the Debtor under the Plan and will, upon the occurrence of the Effective
Date, be binding upon all holders of Claims against and Interests in the Debtor, the Debtor’s estate,
the Reorganized Debtor, all parties receiving property under the Plan, and other parties in interest.
In the event of any conflict, inconsistency, or discrepancy between this Disclosure Statement and
the Plan, the Plan Supplement, and/or any other operative document, the terms of the Plan, Plan
Supplement, and/or such other operative document, as applicable, shall govern and control;
provided that, in any event, the terms of the Plan shall govern and control over all other related
documents.

                  Treatment of Unclassified Claims

        In accordance with Bankruptcy Code section 1123(a)(1), Administrative Claims (including
Professional Compensation Claims, U.S. Trustee Fees, and Ordinary Course Liabilities) and
Priority Tax Claims have not been classified and the respective treatment of such unclassified
Claims is set forth in Article IV of the Plan.

[Redundant].
            (a)       Administrative Claims

                    i. General: Except with regards to Ordinary Course Liabilities (the treatment
of which is described below and in Section 4.3 of the Plan), subject to the bar date provisions in
the Plan, unless otherwise agreed to by the parties, each holder of an Allowed Administrative
Claim shall receive Cash equal to the unpaid portion of such Allowed Administrative Claim within
ten (10) days after the later of (a) the Effective Date, (b) the Allowance Date, or (c) such other date
as is mutually agreed upon by the Debtor, the Plan Sponsor and the holder of such Claim.

                    ii. Bar Date for Administrative Claims: Except as otherwise provided in
Article IV of the Plan, requests for payment of Administrative Claims must be included within an
application (setting forth the amount of, and basis for, such Administrative Claims, together with
documentary evidence) and Filed and served on respective counsel for the Debtor, the Distribution
Trust and Plan Sponsor no later than the Administrative Claim Bar Date or by such earlier deadline
governing a particular Administrative Claim contained in an order of the Bankruptcy Court entered
before the Effective Date. Holders of Administrative Claims that are required to File a request for
payment of such Claims and that do not File such requests by the applicable bar date shall be



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forever barred from asserting such Claims against the Debtor or any of its property, absent order
of the Bankruptcy Court to the contrary.

            (b)     Professional Compensation Claims

       All Professional Compensation Claims must be filed with the Bankruptcy Court and served
on the Reorganized Debtor, the Distribution Trust, the U.S. Trustee and the Post-Confirmation
Service List, no later than thirty (30) days after the Effective Date. FAILURE TO FILE AND
SERVE FINAL FEE APPLICATIONS TIMELY AND PROPERLY SHALL RESULT IN
THE UNDERLYING PROFESSIONAL FEE CLAIMS BEING FOREVER BARRED AND
DISCHARGED. Objections to Professional Compensation Claims, if any, must be filed and
served pursuant to the procedures set forth in the Confirmation Order no later than forty-five (45)
days after the Effective Date or such other date as may be established by the Bankruptcy Court.
After notice and a hearing in accordance with the procedures established by the Bankruptcy Code
and prior orders of the Bankruptcy Court in the Chapter 11 Case, the Allowed amounts of such
Professional Fee Claims shall be determined by the Bankruptcy Court. All holders of Professional
Compensation Claims shall be paid in full, in Cash from the Distribution Reserve, in such amounts
as are Allowed by the Bankruptcy Court. The Reorganized Debtor and the Distribution Trustee
are authorized to pay compensation for professional services rendered and reimbursement of
expenses incurred after the Effective Date in the ordinary course and without the need for
Bankruptcy Court approval.
        Each holder of a Professional Compensation Claim shall provide the Debtor with an
estimate of the unpaid amount of such Professional Compensation Claim not later than seven (7)
calendar days prior to the anticipated Effective Date; provided, however, that such estimates shall
be used solely for administrative purposes and determining the amount of the Distribution Reserve,
shall not be binding on the holders of Professional Compensation Claims and shall not in any way
limit, cap, or reduce the amount of the Professional Compensation Claims.
       Any professional fees and reimbursements or expenses incurred by the Reorganized Debtor
subsequent to the Effective Date may be paid by the Reorganized Debtor without application to
the Bankruptcy Court. Any professional fees and reimbursements or expenses incurred by the
Distribution Trustee subsequent to the Effective Date may be paid by the Distribution Trustee
without application to the Bankruptcy Court.
             (c)    U.S. Trustee Fees

        All fees payable pursuant to 28 U.S.C. § 1930 shall be paid in Cash from the DIP Financing
or otherwise from the Consideration equal to the amount of such fees when due or no later than
the Effective Date. Post-petition U.S. Trustee fees shall be paid and post-confirmation reports
shall be filed as required by 28 U.S.C. § 1930 until the Chapter 11 Case is closed, converted or
dismissed, and failure to do either timely is a material default pursuant to section 1112 of the
Bankruptcy Code.

             (d)    Ordinary Course Liabilities

      All Ordinary Course Liabilities are deemed to be Allowed Claims to the extent set forth in
the Approved Budget. Holders of Administrative Claims on account of Ordinary Course



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Liabilities are not required to file or serve any request for payment of the Ordinary Course
Liability. The Debtor shall continue to pay each Ordinary Course Liability accrued prior to the
Effective Date, pursuant to the payment terms and conditions of the particular transaction giving
rise to the Ordinary Course Liability and the Approved Budget. To the extent that a holder of an
Administrative Claim, on account of Ordinary Course Liability which accrued prior to the
Effective Date, did not submit an invoice for the Ordinary Course Liability to the Debtor prior to
the Effective Date, the holder must submit the invoice to the Distribution Trustee in the ordinary
course of business, pursuant to the terms and conditions of the particular transaction giving rise
to the Ordinary Course Liability. The Distribution Trustee shall remit payment on the Ordinary
Course Liability within fifteen (15) days of receipt of the invoice. In the event that the Reorganized
Debtor pays any Ordinary Course Liability accrued prior to the Effective Date, the Distribution
Trust shall reimburse the Reorganized Debtor for such payment promptly upon request.

        The DIP Lender Claim is Allowed in full. Pursuant to the Subscription Option, the DIP
Lender shall have the option, on account of being the holder of the Allowed DIP Lender Claim, to
convert a portion of the outstanding Allowed DIP Lender Claim into shares of New Equity at a
rate of 10% of the Allowed DIP Lender Claim for 60 shares of New Equity, up to a maximum of
100% of the Allowed DIP Lender Claim for 600 shares out of the total 1000 shares of New Equity;
provided that the Plan Sponsor, the DIP Lender and the Series A Preferred Stockholder shall
coordinate to ensure that the sum of New Equity to be acquired by (i) the Plan Sponsor on account
of the Plan Consideration, plus (ii) the DIP Lender pursuant to the Subscription Option, and (iii)
the Series A Preferred Stockholder pursuant to the Series A Preferred Exchange Option shall equal
1,000 shares in the aggregate. To the extent any amount of Allowed DIP Lender Claim remains
after the DIP Lender exercises the Subscription Option, the remainder of its Allowed DIP Lender
Claim shall be repaid in Cash funded and paid by the Plan Sponsor on the Effective Date,
separately and in addition to the Consideration being paid by the Plan on the Effective Date, or
reduced on a dollar-for-dollar basis by agreement between the DIP Lender and the Plan Sponsor.
For the avoidance of doubt, in no event will the partial exercise of the Subscription Option reduce
the amount of the Consideration paid by Plan Sponsor. On the Effective Date, all liens and
interests granted in exchange for or in connection with the DIP Note and/or under the DIP Order
shall be deemed discharged, cancelled, and released and shall be of no further force and effect.

             (e)     Allowed Priority Tax Claims

        Each Holder of an Allowed Priority Tax Claim against Debtor shall receive in full
satisfaction, settlement, release and discharge of, and in exchange for, such Allowed Priority Tax
Claim (i) Cash equal to the amount of such Allowed Priority Tax Claim on the Effective Date, (ii)
payment in full through the fifth anniversary of the Petition Date, plus interest at a rate determined
in accordance with section 511 of the Bankruptcy Code, or (iii) such other less favorable treatment
to the Holders of an Allowed Priority Tax Claim as to which the Debtor, the Plan Sponsor, and the
Holder of such Allowed Priority Tax Claim shall have agreed upon in writing.
               Classification and Treatment of Claims and Interests

        Pursuant to sections 1122 and 1123 of the Bankruptcy Code, a Claim or Interest is placed
in a particular Class for all purposes, including without limitation, voting, confirmation and
receiving Distributions under the Plan only to the extent (i) the Claim or Interest qualifies within



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the description of that Class; (ii) the Claim or Interest is an Allowed Claim or Allowed Interest (or
temporarily allowed Claim or Interest for voting purposes) in that Class, and is classified in another
Class or Classes to the extent that any remainder of the Claim or Interest qualifies within the
description of such other Class or Classes; and (iii) the Claim or Interest has not been paid,
released, or otherwise compromised before the Effective Date. A Claim or Interest which is not
an Allowed Claim or Allowed Interest, including a Disputed Claim, is not in any Class, and,
notwithstanding anything to the contrary contained in the Plan, no Distribution shall be made on
account of any Claim or Interest which is not an Allowed Claim or Allowed Interest.

       Class 1: Consenting Lender Claim

                (a)     Classification: Class 1 consists of all Consenting Lender Claim against the
                        Debtor.

                (b)     Treatment: The holder of the Allowed Consenting Lender Claim against
                        the Debtor shall receive on or about the Effective Date, on account of and
                        in full and complete settlement, release and discharge of, and in exchange
                        for, such Allowed Consenting Lender Claim, the Consenting Lender
                        Recovery.

                (c)     Impairment and Voting: The holder of the Allowed Consenting Lender
                        Claim is impaired, and the holder of such Claim is entitled to vote to accept
                        or reject the Plan on account of such Claims pursuant to section 1126(a) of
                        the Bankruptcy Code.

       Class 2: Other Secured Claims

                (a)     Classification: Class 2 consists of all Allowed Other Secured Claims, if
                        any, against the Debtor.

                (b)     Treatment: Each holder of an Allowed Other Secured Claims against the
                        Debtor shall receive on or about the Effective Date, on account of and in
                        full and complete settlement, release and discharge of, and in exchange for,
                        such Allowed Other Secured Claims, at the option of the Plan Sponsor: (i)
                        payment in full in Cash; (ii) the collateral securing its Allowed Other
                        Secured Claim and payment of any interest required under section 506(b)
                        of the Bankruptcy Code; (iii) reinstatement of such Allowed Other Secured
                        Claim; or (iv) such other treatment rendering such Allowed Other Secured
                        Claim unimpaired.

                (c)     Impairment and Voting: Allowed Other Secured Claims are unimpaired,
                        and the holders of such Claims are not entitled to vote to accept or reject
                        the Plan on account of such Claims and will be conclusively deemed to
                        have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.




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       Class 3: Other Priority Claims

                (a)     Classification: Class 3 consists of all Other Priority Claims against the
                        Debtor.

                (b)     Treatment: Each holder of an Allowed Other Priority Claim against the
                        Debtor shall receive on or about the Effective Date, on account of and in
                        full and complete settlement, release and discharge of, and in exchange for,
                        such Allowed Other Priority Claim, (i) Cash equal to the amount of such
                        Allowed Other Priority Claim on the Effective Date, or (ii) such other
                        treatment to the holder of an Allowed Other Priority Claim as to which the
                        Plan Sponsor and the holder of such Allowed Other Priority Claim shall
                        have agreed upon in writing.

                (c)     Impairment and Voting: Allowed Other Priority Claims are unimpaired,
                        and the holders of such Claims are not entitled to vote to accept or reject
                        the Plan on account of such Claims and will be conclusively deemed to
                        have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.

       Class 4: General Unsecured Claims

                (a)     Classification: Class 4 consists of all General Unsecured Claims against
                        the Debtor.

                (b)     Treatment: On or about the Effective Date, each holder of an Allowed
                        General Unsecured Claim shall receive, on account of and in full and
                        complete settlement, release and discharge of, and in exchange for its
                        Allowed General Unsecured Claim, payment in full in Cash.

Impairment and Voting: Allowed General Unsecured Claims are unimpaired, and the holders of
such Claims are not entitled to vote to accept or reject the Plan on account of such Claims and will
be conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code.

       Class 5: Series A Preferred Stock Interests

                (a)     Classification: Class 5 consists of all Series A Preferred Stock Interests in
                        the Debtor.

Treatment: Each holder of an Allowed Series A Preferred Stock Interest in the Debtor shall receive
on or about the Effective Date, on account of and in full and complete settlement, release and
discharge of, and in exchange for, such Allowed Series A Preferred Stock Interest, the Series A
Preferred Stock Treatment.

Impairment and Voting: Allowed Series A Preferred stock Interests are impaired, and the holders
of such Series A Preferred Interests are entitled to vote to accept or reject the Plan on account of
such Series A Preferred Interests pursuant to section 1126(a) of the Bankruptcy Code.




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       Class 6: Common Stock Interests

                (a)    Classification: Class 6 consists of all Common Stock Interests in the
                       Debtor.

Treatment: Class 6 Common Stock Interests shall be automatically cancelled, released, and
extinguished without further action by the Debtor or the Reorganized Debtor, and any and all
obligation of the Debtor and the Reorganized Debtor thereunder shall be discharged. Each holder
of an Allowed Common Stock Interests in the Debtor shall receive on or about the Effective Date,
on account of and in full and complete settlement, release and discharge of, and in exchange for,
such Allowed Common Stock Interests, its Pro Rata Share of the Equity IP Recovery (if any).

Impairment and Voting: Allowed Common Stock Interests are impaired, and the holders of such
Common Stock Interests deemed to reject the Plan.

       Class 7: Other Equity Interests

                (a)    Classification: Class 7 consists of all Other Equity Interests issued by the
                       Debtor.

Treatment: Class 7 Other Equity Interests shall be automatically cancelled, released, and
extinguished without further action by the Debtor or the Reorganized Debtor, and any and all
obligation of the Debtor and the Reorganized Debtor thereunder shall be discharged. Holders of
Class 7 Other Equity Interests shall neither receive nor retain any property under the Plan on
account of such Other Equity Interests.

Impairment and Voting: Allowed Other Equity Interests are impaired, and the holders of such
Other Equity Interests are deemed to reject the Plan.

               Acceptance or Rejection of the Plan

                (a)    Impaired Classes Entitled to Vote

        Holders of Claims in Classes 1 and 5 are impaired and entitled to vote as a Class to accept
or reject the Plan. Accordingly, only the Holders of Claims in Classes 1 and 5 shall be solicited
with respect to the Plan.

                (b)    Acceptance by Classes 1 and 5

        In accordance with Bankruptcy Code section 1126(c), and except as provided in
Bankruptcy Code section 1126(e), an impaired Class of Claims shall have accepted the Plan if the
Plan is accepted by the holders of at least two-thirds (⅔) in dollar amount and more than one-half
(½) in number of the Allowed Claims in such Class that have timely and properly voted to accept
or reject the Plan.

      In accordance with Bankruptcy Code section 1126(d), and except as provided in
Bankruptcy Code section 1126(e), an impaired Class of Interest shall have accepted the Plan if the




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Plan is accepted by holders of at least two-thirds (⅔) in amount of Allowed Interests that have
timely and properly voted to accept or reject the Plan.

                (c)     Presumed Acceptances by Classes 2, 3 and 4

       Holders of Claims in Classes 2, 3 and 4 are unimpaired. Under Bankruptcy Code section
1126(f), holders of such unimpaired Claims are conclusively presumed to have accepted the Plan,
and the votes of such unimpaired Claim Holders shall not be solicited.

                (d)     Deemed Rejection by Classes 6 and 7

        Classes 6 and 7 are impaired under the Plan. Class 7 is receiving no distribution under the
Plan and is deemed to reject the Plan under section 1126(g) of the Bankruptcy Code. Class 6 is
receiving a potential recovery from the proceeds of a sale/monetization of the patent portfolio, to
the extent that the Consenting Lender Claim (Class 1) is paid in full first. However, given that
Class 6 will not receive any recovery on the Effective Date, and it is uncertain whether they will
receive any recovery in the future from the IP Sale, to avoid the time and expense of soliciting the
votes of holders in Class 6, the Plan deems such Class to have rejected the Plan and the holders of
Claims in such Class are not entitled to vote to accept or reject the Plan. As no class junior to
Class 6 is to receive any distribution under the Plan, the Debtor intends to confirm the Plan over
the deemed rejection of Classes 6 and 7 under the provisions of section 1129(b) of the Bankruptcy
Code.

                (e)     Elimination of Classes for Voting Purposes

       Any Class of Claims or Interests that is not occupied as of the date of the commencement
of the Confirmation Hearing by an Allowed Claim, an Allowed Interest, or a Claim or Interest
temporarily allowed under Rule 3018 of the Bankruptcy Rules shall be deemed deleted from the
Plan for purposes of voting on acceptance or rejection of the Plan by such Class under section
1129(a)(8) of the Bankruptcy Code.
                (f)     Voting Classes; Deemed Acceptance by Non-Voting Classes

        If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests
eligible to vote in such Class vote to accept or reject the Plan, the Plan shall be deemed accepted
by such Class. For clarification, the only impaired classes eligible to vote are Class 1 (Consenting
Lender Claim) and Class 5 (Series A Preferred Stock Interests).
                (g)     Controversy Concerning Classification, Impairment or Voting
                        Rights

        In the event a controversy or dispute should arise involving issues related to the
classification, impairment or voting rights of any Creditor or Interest Holder under the Plan,
whether before or after the Confirmation Date, the Bankruptcy Court may, after notice and a
hearing, determine such controversy. Without limiting the foregoing, the Bankruptcy Court may
estimate for voting purposes (i) the amount of any contingent or unliquidated Claim the fixing or
liquidation of, as the case may be, would unduly delay the administration of the Chapter 11 Case
and (ii) any right to payment arising from an equitable remedy for breach of performance.



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               Means for Implementation of the Plan

                (a)     Continued Corporate Existence

        Except as otherwise provided in the Plan, the Reorganized Debtor will continue to exist
after the Effective Date as a corporate entity, with all of the powers of a corporation under
applicable law in the jurisdiction in which the Debtor is incorporated and pursuant to its Charter
Documents in effect before the Effective Date, as such documents are amended by or pursuant to
the Plan.

        Upon the Effective Date, and without any further action by the shareholders, directors, or
officers of the Reorganized Debtor, the Reorganized Debtor’s Charter Documents shall be deemed
amended (a) to the extent necessary, to incorporate the provisions of the Plan, and (b) to prohibit
the issuance by the Reorganized Debtor of nonvoting securities to the extent required under section
1123(a)(6) of the Bankruptcy Code, subject to further amendment of such Charter Documents as
permitted by applicable law, and to the extent such documents are amended, such documents are
deemed to be amended pursuant to the Plan and require no further action or approval other than
any requisite filings required under applicable state, provincial or federal law. The Charter
Documents shall be filed with the Plan Supplement.

                (b)     Management and Board of Directors

        The Plan Sponsor may nominate and elect new members for the board of directors of the
Reorganized Debtor in accordance with the Reorganized Debtor’s Charter Documents. The
identity of such new members shall be disclosed in the Plan Supplement prior to the Plan
Supplement Deadline. Upon the Effective Date, the current members of the Debtor’s board of
directors shall no longer serve in such capacity and shall be discharged of all duties in connection
therewith.

                (c)     Arrangements with the Distribution Trustee

       By the Plan Supplement Deadline, the Debtor shall file with the Bankruptcy Court a
disclosure identifying the Distribution Trustee under the Distribution Trust. At the Confirmation
Hearing, the Bankruptcy Court shall ratify such Distribution Trustee. All compensation for the
Distribution Trustee shall be paid from the Distribution Trust Assets in accordance with the
Distribution Trust Agreement. The approved person shall serve as the Distribution Trustee on
execution of the Distribution Trust Agreement at the Closing.

                (d)     Abandonment of Abandoned Assets

        Any Abandoned Assets shall be deemed abandoned as of the Effective Date pursuant to
Bankruptcy Code section 554 without further order of the Bankruptcy Court. The filing of the
Plan shall constitute the filing of a motion to abandon pursuant to 11 U.S.C. § 554 and relinquish
the Abandoned Assets. Entry of the Confirmation Order shall constitute (i) approval, pursuant to
Bankruptcy Code section 554, of the abandonment of the Abandoned Assets and (ii) authorization
to relinquish any interest the Debtor holds in the Abandoned Assets.

                (e)     The Closing


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         The Closing of the transactions required and contemplated under the Plan shall take place
on the Effective Date at the offices of Goulston & Storrs PC, 885 Third Avenue, 18th Floor, New
York, New York 10022, or at such other place identified in a notice provided to those parties listed
in Section 13.12 of the Plan. The Debtor and Plan Sponsor may reschedule the Closing by making
an announcement at the originally scheduled Closing of the new date for the Closing. A notice of
the rescheduled Closing shall be filed with the Bankruptcy Court and served on the parties
identified in Section 13.12 of the Plan within two (2) days after the originally scheduled Closing.
All documents to be executed and delivered by any party as provided in Article VI of the Plan and
all actions to be taken by any party to implement the Plan as provided therein shall be in form and
substance satisfactory to the Debtor and Plan Sponsor. The following actions shall occur at or
before the Closing (unless otherwise specified), and shall be effective on the Effective Date:

        (i)     Execution of Documents and Corporate Action. The Debtor shall deliver all
documents and perform all actions reasonably contemplated with respect to implementation of the
Plan. The Debtor, or its designee, is authorized (i) to execute on behalf of the Debtor, in a
representative capacity and not individually, any documents or instruments after the Confirmation
Date or at the Closing that may be necessary to consummate the Plan and (ii) to undertake any
other action on behalf of the Debtor to consummate the Plan. Each of the matters provided for
under the Plan involving the corporate structure of the Debtor or corporate action to be taken by
or required of the Debtor will, as of the Effective Date, be deemed to have occurred and be effective
as provided herein, and shall be authorized, approved, and (to the extent taken before the Effective
Date) ratified in all respects without any requirement of further action by stockholders, creditors,
or directors of the Debtor. On the Effective Date, all matters provided for in the Plan involving
the corporate structure of the Reorganized Debtor, and all corporate actions required by the Debtor
and the Reorganized Debtor in connection with the Plan, shall be deemed to have occurred and
shall be in effect, without any requirement of further action by the Debtor or the Reorganized
Debtor. For purposes of effectuating the Plan, none of the transactions contemplated in the Plan
shall constitute a change of control under any agreement, contract, or document of the Debtor.

        (ii)    Release of Liens. Upon request by the Debtor, the Reorganized Debtor or the Plan
Sponsor, any Person holding a Lien in any of the Debtor’s Property shall execute any lien release
or similar document(s) required to implement the Plan or reasonably requested by the Debtor, the
Reorganized Debtor or the Plan Sponsor in a prompt and diligent manner. Notwithstanding the
foregoing, the Debtor, the Reorganized Debtor or the Plan Sponsor is authorized to execute any
lien release or similar document(s) required to implement the Plan.

        (iii) Cancellation of Interests. On the Effective Date, all existing Interests of Debtor
shall be retired, cancelled, extinguished and/or discharged in accordance with the terms of the Plan.
Except as otherwise provided in the Plan or the Plan Supplement, on the Effective Date: (1) the
obligations of the Debtor under any certificate, share, note, bond, indenture, purchase right, option,
warrant, or other instrument or document, directly or indirectly, evidencing or creating any
indebtedness or obligation of or ownership interest in the Debtor giving rise to any Claim or
Interest shall be cancelled as to the Debtor and the Reorganized Debtor shall not have any
continuing obligations thereunder and (2) the obligations of the Debtor pursuant, relating, or
pertaining to any agreements, indentures, certificates of designation, bylaws, or certificate or
articles of incorporation or similar documents governing the shares, certificates, notes, bonds,



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purchase rights, options, warrants or other instruments or documents evidencing or creating any
indebtedness or obligation of the Debtor shall be released and discharged.

        (iv)    Issuance of New Equity of Reorganized Debtor. On the Effective Date, 1,000 shares
of New Equity of the Reorganized Debtor shall be issued to the Plan Sponsor, and to the DIP
Lender under and subject to the Subscription Option, and to the Series A Preferred Stockholder
under and subject to the Series A Preferred Exchange Option, in the total amount of 1,000 shares,
representing 100% of the equity of the Reorganized Debtor. The New Equity shall be free and
clear of all Liens, Claims, interests, and encumbrances of any kind, except as otherwise provided
in the Plan. All the shares of the New Equity issued pursuant to the Plan shall be duly authorized,
validly issued, fully paid, and non-assessable. On the Effective Date, none of the New Equity will
be listed on a national securities exchange. The Reorganized Debtor may take all necessary
actions, if applicable, after the Effective Date to suspend any requirement to (i) be a reporting
company under the Securities Exchange Act, and (ii) file reports with the Securities and Exchange
Commission or any other entity or party.

        (v)     Funding of the Cash Consideration. On the Effective Date, the Plan Sponsor shall
contribute to the Distribution Trust an amount of Cash equal to the Cash Consideration. Funding
of the Cash Consideration is not subject to any financing contingency. The Cash Consideration
shall be used to fund Distributions, post-confirmation quarterly fees pursuant to 28 U.S.C. §
1930(a)(6), and all other costs and expenses contemplated by the Plan, including the costs and
expenses of the Distribution Trust. To the extent any amount of Allowed DIP Lender Claim
remains after the DIP Lender exercises the Subscription Option, the remainder of its Allowed DIP
Lender Claim shall be repaid in Cash funded and paid by the Plan Sponsor on the Effective Date,
separately and in addition to the Consideration on the Effective Date, or reduced on a dollar-for-
dollar basis by agreement between the DIP Lender and the Plan Sponsor. For the avoidance of
doubt, in no event will the DIP Lender’s exercise of the Subscription Option or the Series A
Preferred Stockholder’s exercise of the Series A Preferred Exchange Option reduce the amount of
the Consideration paid by Plan Sponsor.

        (vi)   Execution and Ratification of the Distribution Trust Agreement. On the Effective
Date, the Distribution Trust Agreement shall be executed by all parties thereto. The Distribution
Trust Agreement shall be provided in the Plan Supplement. Each holder of a Claim shall be
deemed to have ratified and become bound by the terms and conditions of the Distribution Trust
Agreement.

       (vii) Transfer of Distribution Trust Assets. All property of the Debtor constituting the
Distribution Trust Assets shall be conveyed and transferred by the Debtor to the Distribution Trust,
free and clear of all Liens, Claims, Interests, and encumbrances.

        (viii) As set forth in the IP Sale Agreement, immediately following the Effective Date,
the Reorganized Debtor shall enter into the IP Sale Agreement with the SFC Secured Creditors
Trust pursuant to which the Reorganized Debtor will authorize the Company Stakeholders to
market the Patent Rights (as defined in the IP Sale Agreement) and solicit offers from third parties
for such third parties to purchase one or more of the Patent Rights in efforts to monetize SFC’s
intellectual property portfolio for the duration of the IP Sale Period, subject to an ongoing perpetual



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license to the Patent Portfolio in favor of Plan Sponsor. The terms of the IP Sale shall be governed
by the IP Sale Agreement. Upon the occurrence of an IP Sale, the IP Proceeds shall be remitted
to the Distribution Trust for distribution (i) to the Consenting Lender on a pro rata basis until the
Consenting Lender Claim is paid in full, and thereafter (ii) to the holders of Allowed Common
Stock Interests on a pro rata basis. For the avoidance of doubt, the Patent Portfolio shall not be
construed as a Distribution Trust Asset. Rather, the IP Proceeds shall be Distribution Trust Assets
to be distributed by the Distribution Trustee to the Consenting Lender and holders of Allowed
Common Stock Interests in the manner set forth in the Plan. The Reorganized Debtor shall have
the authority, but not the obligation, to sell the IP Portfolio without any further notice to or action,
order or approval by the Bankruptcy Court.


                 (f)     Tax Treatment of the Distribution Trust

        The Distribution Trust established under the Plan is established for the purpose of making
Distributions to holders of Allowed Claims from the Distribution Trust Assets transferred to the
Distribution Trust (or from the proceeds of such Distribution Trust Assets, as applicable) and
performing related and incidental functions referenced in the Distribution Trust Agreement. The
Distribution Trust shall have no objective of continuing or engaging in any trade or business except
to the extent reasonably necessary to, and consistent with, the liquidating purpose of the trust. The
purpose of the Distribution Trust is to provide a mechanism for the liquidation of the Distribution
Trust Assets, and to distribute the Consideration and the proceeds of the liquidation, net of all
claims, expenses, charges, liabilities, and obligations of the Distribution Trust, to the Beneficiaries
in accordance with the terms of the Plan. No business activities will be conducted by the
Distribution Trust other than those associated with or related to the liquidation of the Distribution
Trust Assets. It is intended that the Distribution Trust be classified for federal income tax purposes
as a “liquidating trust” within the meaning of the Treasury Regulations Section 301.7701-4(d).
All parties and Beneficiaries shall treat the transfers in trust described herein as transfers to the
Beneficiaries for all purposes of the Internal Revenue Code of 1986, as amended (including
Sections 61(a)(12), 483, 1001, 1012, and 1274 thereof). All the parties and Beneficiaries shall
treat the transfers in trust as if all the transferred assets, including all the Distribution Trust Assets,
had been first transferred to the Beneficiaries and then transferred by the Beneficiaries to the
Distribution Trust. The Beneficiaries shall be treated for all purposes of the Internal Revenue Code
of 1986, as amended, as the grantors of the Distribution Trust and the owners of the Distribution
Trust. The Distribution Trustee shall file returns for the Distribution Trust as a grantor trust
pursuant to Treasury Regulations Section 1.671-4(a) or (b). All parties, including the Beneficiaries
and the Distribution Trustee, shall value the Distribution Trust Assets consistently, and such
valuations shall be used for all federal income tax purposes. Beneficiaries may wish to consult
with a tax professional regarding the tax consequences of holding a Beneficial Interest in or
receiving a Distribution from the Distribution Trust.

                 (g)     Preservation of Rights of Action

       Unless any Rights of Action against a Person are expressly waived, relinquished,
exculpated, released, compromised, transferred or settled in the Plan or by a Final Order, in
accordance with section 1123(b) of the Bankruptcy Code, the Reorganized Debtor shall retain and
may enforce all rights to commence and pursue any and all Rights of Action, and the Reorganized



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Debtor’s rights to commence, prosecute or settle such Rights of Action shall be preserved
notwithstanding the occurrence of the Effective Date. For the avoidance of doubt, and
notwithstanding Section 7.1 of the Plan, the Reorganized Debtor shall retain and shall have the
exclusive right to enforce any and all of the Debtor’s Rights of Action including, without
limitation, those arising from or related to (a) Intellectual Property and (b) claims and causes of
action under chapter 5 of the Bankruptcy Code (including, without limitation, claims for accounts
receivable and claims for turnover of Cash of the Debtor being held in escrow or on deposit by
third parties) and shall be the sole beneficiary of any contested matters, claims objections,
proceedings or similar actions in connection therewith.


                (h)     Vesting of Property in Reorganized Debtor

       On the Effective Date, except as otherwise expressly provided in the Plan or Confirmation
Order, all Estate Property, other than the Distribution Trust Assets and the Abandoned Assets,
shall vest in the Reorganized Debtor free and clear of all Liens, Claims, interests, and
encumbrances of any kind, except as otherwise provided in the Plan. Moreover, pursuant to
Bankruptcy Code section 1141(d), the effect of confirmation of the Plan shall be to discharge the
Debtor from any debt that arose before the Effective Date, and any debt of a kind specified in
Bankruptcy Code sections 502(g), 502(h), or 502(i).

       On the Effective Date, except as otherwise provided in the Plan, the Reorganized Debtor
may operate its business and may use, acquire, or dispose of any and all Estate Property, without
supervision of or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or Bankruptcy Rules.

                (i)     Tax Exemption

         The Plan and the Confirmation Order provide for (a) the issuance, transfer or exchange of
notes, debt instruments and equity securities under or in connection with the Plan; (b) the creation,
assignment, recordation or perfection of any lien, pledge, other security interest or other
instruments of transfer; (c) the making or assignment of any lease; (d) the creation, execution and
delivery of any agreements or other documents creating or evidencing the formation of the
Reorganized Debtor or the issuance or ownership of any interest in the Reorganized Debtor; and
(e) the making or delivery of any deed or other instrument of transfer under the Plan in connection
with the vesting of the Estate’s assets in the Reorganized Debtor or the Distribution Trust pursuant
to or in connection with the Plan, including, without limitation, merger agreements, stock purchase
agreement, agreements of consolidation, restructuring, disposition, liquidation or dissolution, and
transfers of tangible property. Pursuant to section 1146 of the Bankruptcy Code and the Plan, any
such act described or contemplated herein will not be subject to any stamp tax, transfer tax, filing
or recording tax, or other similar tax.

                (j)     No Successor Liability

        Pursuant to Bankruptcy Code section 1141 and Article X of the Plan, the property of the
Debtor’s estate shall vest in the Reorganized Debtor free and clear of all claims and interests of
creditors and equity holders of the Debtor. Moreover, pursuant to Bankruptcy Code section



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1141(d), the effect of confirmation of the Plan shall be to discharge the Debtor from any debt that
arose before the Effective Date, and any debt of a kind specified in Bankruptcy Code sections
502(g), 502(h), or 502(i).

        The issuance of New Equity through the Plan shall not result in ESW or the Reorganized
Debtor (a) having any liability or responsibility for any Claim against or Interest in the Debtor, the
Debtor’s estate, or Insider of the Debtor, or (b) having any liability or responsibility to the Debtor.
Without limiting the effect or scope of the foregoing, and to the fullest extent permitted by
applicable laws, neither the issuance of the New Equity nor transfer of assets contemplated in the
Plan shall subject the Reorganized Debtor or any of its properties or assets or affiliates, successors,
or assigns to any liability for Claims against the Debtor’s interests in such assets by reason of such
issuance of New Equity or transfer of assets under any applicable laws, including, without
limitation, any successor liability.

               Treatment of Executory Contracts and Unexpired Leases

                (k)     Assumption of Executory Contracts

        (i)    On the Effective Date, and subject to Section 8.3 of the Plan, all Executory
Contracts identified on the Schedule of Assumed Contracts and Unexpired Leases, to be attached
to be included in the Plan Supplement, shall be deemed assumed by the Reorganized Debtor. The
Plan Sponsor may amend the Schedule of Assumed Contracts and Unexpired Leases at any time
prior to the Effective Date. Entry of the Confirmation Order shall constitute approval of the
assumption of such Executory Contracts under sections 365 and 1123 of the Bankruptcy Code.

        (ii)   Notwithstanding anything in the Plan to the contrary, the Reorganized Debtor shall
assume the Employee Agreements as of the Effective Date. All payments to be made to the
Employees pursuant to the Employment Agreements will be made in accordance with the
Employee Agreements, which are incorporated herein by reference. All Claims that may be
asserted by any of the Officers arising under or related to the Officers Agreements shall be treated
and paid pursuant to the terms of paragraph 3 of the applicable Officers Agreement..

                (l)     Rejection of Executory Contracts

       All Executory Contracts not identified on the Schedule of Assumed Contracts and
Unexpired Leases (or assumed by the Debtor previously) shall be deemed rejected on the Effective
Date. Entry of the Confirmation Order shall constitute approval of such rejections under sections
365 and 1123 of the Bankruptcy Code. Notwithstanding the rejection of an Executory Contract,
the terms of any confidentiality agreement or covenant not to compete contained therein shall
survive and remain in full force and effect for the term thereof.
        The Debtor will reject prior to the Effective Date, and the Reorganized Debtor will not
assume, any employment, severance, bonus, incentive, commission, compensation or similar
agreement or plan (or any agreement outside the ordinary course of business) with any employees,
officers or directors. To the extent the 401(k) Plan has not yet been formally rejected and/or
terminated prior to the Effective Date, such 401(k) Plan shall be deemed rejected as of the Effective
Date, and the Debtor shall take all steps necessary prior to the Effective Date to effectuate
termination of the 401(k) Plan. The Employee Handbook, if any, shall, immediately upon the


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Effective Date, be terminated without any action of the Debtor, the Reorganized Debtor or the Plan
Sponsor and shall be deemed rejected as of the Effective Date.

        On the Effective Date, any and all equity-based incentive plans or stock ownership plans
of the Debtor, including all agreements related thereto, entered into before the Effective Date, or
other plans, agreements or documents giving rise to Interests, including the contingent cash
components of any such plans, agreements, or documents, shall be immediately terminated without
any action of the Debtor, the Reorganized Debtor or the Plan Sponsor. To the extent such plans,
agreements or documents are considered to be Executory Contracts, such plans, agreements or
documents shall be deemed to be, and shall be treated as though they are, Executory Contracts that
are rejected pursuant to section 365 of the Bankruptcy Code under the Plan. From and after the
Effective Date, all warrants, stock options and other equity awards outstanding or issued at such
time, whether included in a warrant, plan, contract, agreement or otherwise, will have no value,
shall be cancelled and extinguished and thus will not entitle any holder thereof to purchase or
otherwise acquire any equity interests in the Reorganized Debtor.
                (m)    Procedures Related to Assumption of Executory Contracts and
                       Unexpired Leases

                       i)      Establishment of Cure Claim Amounts

       The Cure Amounts associated with the assumption of the Executory Contracts pursuant to
Section 8.1 of the Plan are specified in the Schedule of Assumed Contracts and Unexpired Leases.
The Debtor shall serve counterparties to the Executory Contracts with a Notice of (I) Possible
Assumption of Contracts and Leases, (II) Fixing of Cure Amounts, and (III) Deadline to Object
Thereto (the “Cure Notice”). The Debtor and the Plan Sponsor reserve the right to amend or
supplement the Cure Notice.

        Any Objection to Cure Notice including (i) an objection to the applicable Cure Amount (a
“Cure Objection”) and (ii) an objection to the adequate assurance of future performance (an
“Adequate Assurance Objection”) to be provided by the Plan Sponsor on behalf of the Reorganized
Debtor must be in writing, filed with the Bankruptcy Court, and served upon (a) the Debtor, (b)
counsel to the Debtor, (c) counsel to the Plan Sponsor, and (d) the U.S. Trustee, by no later than
the deadline set for objections to confirmation of the Plan (the “Objection Deadline”). The
objection must set forth the specific default alleged under the applicable Executory Contract and
claim a specific monetary amount that differs from the applicable Cure Amount, if any, and/or
further information required of the Reorganized Debtor with respect to adequate assurance of
future performance.

        If no Cure Objection is received by the Objection Deadline to an Executory Contract, then
the assumption of such Executory Contract shall be authorized pursuant to sections 365 and 1123
of the Bankruptcy Code and the applicable Cure Amount, if any, shall be binding upon the non-
Debtor counterparty to such Executory Contract for all purposes and shall constitute a final
determination of the Cure Amount required to be paid to such Executory Contract counterparty,
and such Executory Contract counterparty shall be deemed to have waived its right to object to,
contest, condition, or otherwise restrict the assumption of such Executory Contract (including,
without limitation, from asserting any additional cure or other amounts with respect to the



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Executory Contract arising prior to such assumption). Furthermore, upon the assumption of such
Executory Contract, the Reorganized Debtor shall enjoy all of the Debtor’s rights and benefits
thereunder without the necessity of obtaining any party’s written consent to the Debtor’s
assumption of such rights and benefits.
                        ii)     Objection to Disputed Cure Amounts

       The Plan Sponsor shall have the right to examine any Cure Objection filed by any party
and shall have the right to object to and contest the Disputed Cure Amount asserted therein.

        If an objection to a Disputed Cure Amount has not been resolved by the Bankruptcy Court
or agreement of the parties by the Effective Date, the Executory Contract related to such Disputed
Cure Amount shall be deemed assumed by the Reorganized Debtor effective on the Effective Date;
provided, however, the Reorganized Debtor may revoke an assumption of any such Executory
Contract within ten (10) days after entry of an order by the Bankruptcy Court adjudicating the
objection to the Disputed Cure Amount related to the Executory Contract by filing a notice of such
revocation with the Bankruptcy Court and serving a copy on the party(ies) whose Executory
Contract is rejected. Any Executory Contract identified in a revocation notice shall be deemed
rejected retroactively to the Effective Date.

                        iii)    Payment of Cure Amounts

       Within ten (10) Business Days after the Effective Date, the Distribution Trustee shall pay
all Cure Amounts related to Executory Contracts listed on the Cure Notice, other than Disputed
Cure Amounts, from out of the Consideration.
        Subject to Section 8.3(b) of the Plan, the Distribution Trustee shall pay all Cure Amounts
that are subject to an objection on the later of (i) within ten (10) Business Days after the Effective
Date or (ii) within ten (10) Business Days after the parties enter into an agreement resolving the
objection or entry of an order by the Bankruptcy Court resolving the objection.

                         iv)     No Admission of Liability

       Neither the inclusion nor exclusion of any Executory Contract by the Debtor and the Plan
Sponsor on the Cure Notice, nor anything contained in the Plan, shall constitute an admission by
the Debtor or the Plan Sponsor that any such contract or unexpired lease is in fact an Executory
Contract or that the Debtor has any liability thereunder.
                        v)      Reservation of Rights

       Nothing in the Plan shall waive, excuse, limit, diminish, or otherwise alter any of the
defenses, claims, causes of action, or other rights of the Debtor under any executory or non-
executory contract or any unexpired or expired lease, nor shall any provision of the Plan increase,
augment, or add to any of the duties, obligations, responsibilities, or liabilities of the Debtor under
any such contract or lease.




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                (n)     Rejection Claim Bar Date

        Each Claim resulting from the rejection of an Executory Contract, pursuant to Section 8.2
of the Plan, shall be filed with the Bankruptcy Court no later than the Rejection Claim Bar Date;
provided, however, any party whose Executory Contract is rejected pursuant to a revocation notice,
pursuant to Section 8.3(b) of the Plan, may file a rejection damage Claim arising out of such
rejection within thirty (30) days after the filing of the revocation notice with the Bankruptcy Court.
Any Claim resulting from the rejection of an Executory Contract not filed by the applicable
deadline shall be discharged and forever barred and shall not be entitled to any Distributions under
the Plan. The Distribution Trustee shall have the right to object to any rejection damage Claim.
                (o)     Indemnification Obligations
        Any obligation or agreement of the Debtor to indemnify, reimburse, or limit the liability
of any Person, including any officer or director of the Debtor, or any agent, professional, financial
advisor, or underwriter of any securities issued by the Debtor, relating to any acts or omissions
occurring before the Effective Date, whether arising pursuant to charter, bylaws, contract or
applicable state law, shall be deemed to be, and shall be treated as, a General Unsecured Claim
and/or Executory Contract and shall be deemed to be rejected, canceled, and discharged pursuant
to the Plan as of the Effective Date and any and all Claims resulting from such obligations are
disallowed under section 502(e) of the Bankruptcy Code or other applicable grounds, including
section 502(d), or if any court of applicable jurisdiction rules to the contrary, such Claim shall be
estimated pursuant to section 502(c) of the Bankruptcy Code in the amount of $0 or such other
amount as determined by the Bankruptcy Court.
               Provisions Governing Distributions of Property

       (a)     Distribution Procedures Regarding Allowed Claims and Interests. The
       Distribution Trustee shall make all Distributions of Distribution Trust Assets required to
       be made under the Plan, including Distributions from the Distribution Trust, from
       Available Cash.

       (b)     Distributions on Allowed Claims and Interests Only. Distributions on account
               of Claims and Interests shall be made only to the holders of Allowed Claims and
               Interests, respectively. Unless and until a Disputed Claim or Interest becomes an
               Allowed Claim or Interest, as applicable, the holder of that Disputed Claim or
               Interest shall not receive a Distribution on account of the Claim or Interest giving
               rise to such Disputed Claim or Interest.

       (c)     Place and Manner of Payments of Distributions. Except as otherwise specified
               in the Plan, Distributions shall be made by mailing such Distribution to the Creditor
               or Interest Holder at the address listed in any proof of claim filed by the Creditor
               or at such other address as such Creditor or Interest Holder shall have specified for
               payment purposes in a written notice received by the Distribution Trustee at least
               twenty (20) days before a Distribution Date. If a Creditor or Interest Holder has
               not filed a proof of claim or sent the Distribution Trustee and the Reorganized
               Debtor a written notice of payment address, then the Distribution(s) for such
               Creditor or Interest Holder will be mailed to the address identified in the Schedules



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   of Assets and Liabilities. The Distribution Trustee and/or Reorganized Debtor, as
   the case may be, shall distribute any Cash by wire, check, or such other method as
   it deems appropriate under the circumstances. Before receiving any Distributions,
   all Creditors and Interest Holders, at the request of the Distribution Trustee and/or
   Reorganized Debtor, must provide written notification of their respective Federal
   Tax Identification Numbers or Social Security Numbers to the Distribution Trustee
   and/or Reorganized Debtor, as the case may be; otherwise, the Distribution Trustee
   and/or Reorganized Debtor, as the case may be, may suspend Distributions to any
   Creditors or Interest Holders who have not provided their Federal Tax Identification
   Numbers or Social Security Numbers.

 (i) Undeliverable Distributions. If a Distribution to any Creditor or Interest Holder
     is returned as undeliverable, the Distribution Trustee and/or Reorganized Debtor,
     as the case may be, shall use reasonable efforts to determine the then current
     address for such Creditor or Interest Holder. If the Distribution Trustee and/or
     Reorganized Debtor, as the case may be, cannot determine, or is not notified of,
     a then current address for such Creditor or Interest Holder within six months after
     the Effective Date, the Distribution reserved for such Creditor or Interest Holder
     shall be deemed an unclaimed Distribution, and Section 7.5(e) of the Plan shall
     be applicable thereto.

(ii) Unclaimed Distributions. If the current address for a Creditor or Interest Holder
     entitled to a Distribution under the Plan has not been determined or such Creditor
     or Interest Holder has otherwise not been located within six months after the
     Effective Date or a Creditor or Interest Holder has not submitted a valid Federal
     Tax Identification Number or Social Security Number to the Distribution Trustee
     and/or Reorganized Debtor, as the case may be, within three months after the
     Distribution Trustee and/or Reorganized Debtor, made a request therefor, then in
     each case such Creditor or Interest Holder shall forfeit the Distribution on the
     Claim or Interest and any amounts to which the Creditor or Interest Holder would
     have otherwise been entitled shall become available to pay other Allowed Claims
     or Interests.

(iii) Withholding. The Distribution Trustee and Reorganized Debtor may, but shall
      not be required to, at any time withhold from a Distribution from Available Cash
      to any Person (except the Internal Revenue Service) amounts sufficient to pay
      any tax or other charge that has been or may be imposed on such Person with
      respect to the amount distributable or to be distributed under the income tax laws
      of the United States or of any state or political subdivision or entity by reason of
      any Distribution provided for in the Plan, whenever such withholding is
      determined by the Distribution Trustee or the Reorganized Debtor, as applicable
      (in its sole discretion) to be required by any law, regulation, rule, ruling, directive,
      or other governmental requirement. The Distribution Trustee or the Reorganized
      Debtor, as applicable, in the exercise of its sole discretion and judgment, may
      enter into agreements with taxing or other authorities for the payment of such
      amounts that may be withheld in accordance with the provisions of this section.




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(d)    Dissolution

      (i) The Distribution Trustee shall be discharged and Distribution Trust shall be
          dissolved at such time as all of the Distribution Trust Assets have been liquidated
          and distributed pursuant to the Plan and the Distribution Trust Agreement;
          provided, however, that in no event shall the Distribution Trust be dissolved later
          than three (3) years from the creation of the Distribution Trust unless the
          Bankruptcy Court, upon motion within the six-month period prior to the third
          (3rd) anniversary (or within the six-month period prior to the end of an extension
          period), determines that a fixed period extension is necessary to facilitate or
          complete the liquidation of the Distribution Trust Assets. Such extensions in
          aggregate shall not exceed three (3) years without a favorable private letter ruling
          from the Internal Revenue Service or an opinion of counsel satisfactory to the
          Distribution Trustee that any further extension would not adversely affect the
          status of the trust as a liquidating trust for United States federal income tax
          purposes)

      (ii) If at any time the Distribution Trustee determines, in reliance upon such
           professionals as a Distribution Trustee may retain, that the expense of
           administering the Distribution Trust so as to make a final distribution to
           Distribution Trust Beneficiaries is likely to exceed the value of the assets
           remaining in the Distribution Trust, the Distribution Trustee may (i) reserve any
           amount necessary to dissolve the Distribution Trust, (ii) donate any balance to a
           charitable organization (A) described in section 501(c)(3) of the Internal
           Revenue Code, (B) exempt from United States federal income tax under section
           501(a) of the Internal Revenue Code, (C) not a “private foundation,” as defined
           in section 509(a) of the Internal Revenue Code, and (D) that is unrelated to the
           Debtor, the Distribution Trust, and any insider of the Distribution Trustee, and
           (iii) dissolve the Distribution Trust.

(e)     Procedures Regarding Distributions from the Distribution Trust. Procedures
        regarding Distributions from the Distribution Trust shall be governed by the
        Distribution Trust Agreement.

       Procedures for Resolution of Disputed Claims

(a)    Right to Object to Claims. Notwithstanding anything to the contrary herein,
       subject to the terms and conditions set forth in the Distribution Trust Agreement,
       and notwithstanding any requirements that may be imposed pursuant to Bankruptcy
       Rule 9019, except insofar as a Claim is Allowed under the Plan on and after the
       Effective Date, the Distribution Trustee and the Reorganized Debtor shall have the
       authority, but not the obligation, to: (1) file, withdraw or litigate to judgment
       objections to and requests for estimation of Claims and Interests; (2) settle or
       compromise any Disputed Claim or Interest without any further notice to or action,
       order or approval by the Bankruptcy Court; and (3) administer and adjust the
       Claims register, stock transfer ledger or similar register or record of the Debtor to
       reflect any such settlements or compromises without any further notice to or action,



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             order or approval by the Bankruptcy Court. The Distribution Trustee shall succeed
             to any pending objections to Claims and Interests filed by the Debtor prior to the
             Effective Date, and shall have and retain any and all rights and defenses the Debtor
             had immediately prior to the Effective Date with respect to any Disputed Claim.
             The Reorganized Debtor shall provide commercially reasonable assistance and
             cooperation to the Distribution Trustee, at the Distribution Trustee’s cost, in
             connection with the Distribution Trustee’s prosecution of objections to Claims and
             Interests, including, without limitation, reasonable access to the books and records
             of the Debtor or the Reorganized Debtor (as the case may be) and other information
             reasonably requested by the Distribution Trustee to enable the Distribution Trustee
             to perform its obligations under the Distribution Trust Agreement; provided that
             the Distribution Trustee will keep all such information confidential and will not
             disclose any information provided by the Reorganized Debtor without express
             written consent of the Reorganized Debtor. Further, notwithstanding anything to
             the contrary, no provision by the Reorganized Debtor of any privileged information
             to the Distribution Trustee shall result in the waiver of any privilege held by the
             Reorganized Debtor. The Distribution Trustee will cooperate fully with the
             Reorganized Debtor in preserving privilege and confidentiality of any information
             provided by the Reorganized Debtor to the Distribution Trustee. Notwithstanding
             the foregoing, nothing herein shall impose upon or require the Reorganized Debtor
             to preserve or maintain the Debtor’s books and records for any purpose beyond
             twelve months following the Effective Date unless the Distribution Trustee notifies
             the Reorganized Debtor before that time that the Distribution Trustee has no further
             need to have access to such books and records.

      (b)   Deadline for Objecting to Claims. Objections to Claims and Interests must be filed
            with the Bankruptcy Court, and a copy of the objection must be served on the subject
            Creditor or Interest Holder before the expiration of the Claim and Interest Objection
            Deadline (unless such period is further extended by subsequent orders of the
            Bankruptcy Court); otherwise such Claims and Interests shall be deemed Allowed
            in accordance with section 502 of the Bankruptcy Code. The objection shall notify
            the Creditor or Interest Holder of the deadline for responding to such objection.

        (c) Right to Request Estimation of Claims. Pursuant to section 502(c) of the
        Bankruptcy Code, each of the Debtor, the Reorganized Debtor, and the Distribution
        Trustee may request estimation or liquidation of any Disputed Claim or Interest that is
        contingent or unliquidated or any Disputed Claim arising from a right to an equitable
        remedy or breach of performance.

             Injunctions, Releases, and Discharge

              (a)     Discharge and Release

      The Plan contains a release of the Debtor which provides:

       To the fullest extent provided under section 1141(d)(1)(A) and other applicable
provisions of the Bankruptcy Code, except as otherwise expressly provided by the Plan or



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the Confirmation Order, all Distributions under the Plan will be in exchange for, and in
complete satisfaction, settlement, discharge, and release of, all Claims and causes of action,
whether known or unknown, including any interest accrued on such Claims from and after
the Petition Date, against, liabilities of, Liens on, obligations of, rights against, and Interests
in, the Debtor or any of its assets or properties, and regardless of whether any property will
have been distributed or retained pursuant to the Plan on account of such Claims or
Interests. Except as otherwise expressly provided by the Plan or the Confirmation Order,
upon the Effective Date, the Debtor and its estate will be deemed discharged and released
under and to the fullest extent provided under section 1141(d)(1)(A) and other applicable
provisions of the Bankruptcy Code from any and all Claims and Interests of any kind or
nature whatsoever, including, but not limited to, demands and liabilities that arose before
the Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or 502(i)
of the Bankruptcy Code. The Confirmation Order shall be a judicial determination of the
discharge of all Claims against, and Interests in, the Debtor, subject to the occurrence of the
Effective Date.

                (b)    Discharge Injunction

       The Plan contains a discharge injunction which provides:

        Except as otherwise expressly provided in the Plan, the discharge and releases set
forth in Section 11.1 hereof shall also operate as an injunction permanently prohibiting and
enjoining the commencement or continuation of any action or the employment of process
with respect to, or any act to collect, recover from, or offset (a) any Claim discharged and
released in Section 11.1 hereof, or (b) any cause of action, whether known or unknown, based
on the same subject matter as any Claim discharged and released in Section 11.1 hereof.
Except as otherwise expressly provided in the Plan, all Persons shall be precluded and
forever barred from asserting against the Debtor and the Reorganized Debtor, their
successors or assigns, or their assets, properties, or interests in property, any other or further
Claims, or any other right to legal or equitable relief, regardless of whether such right can
be reduced to a right to payment, based upon any act or omission, transaction, or other
activity of any kind or nature that occurred prior to the Effective Date, whether or not the
facts of or legal bases therefor were known or existed prior to the Effective Date.
                (c)    Exculpation and Limitation of Liability

       The Plan contains an exculpation in favor of the Debtor and its representatives and
professionals with respect to post-petition and pre-Effective Date acts which provides:

       The Exculpated Parties will neither have nor incur any liability to any entity for any
claims or causes of action arising on or after the Petition Date and prior to or on the Effective
Date for any act taken or omitted to be taken in connection with, or related to formulating,
negotiating, preparing, disseminating, implementing, administering, confirming or effecting
the consummation of the Plan, the Disclosure Statement, or any other contract, instrument,
release or other agreement or document created or entered into in connection with the Plan
or any other prepetition or postpetition act taken or omitted to be taken in connection with
or in contemplation of the restructuring of the Debtor, the approval of the Disclosure



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Statement or confirmation or consummation of the Plan; provided, however, that the
foregoing provisions will have no effect on the liability of any entity that results from any
such act or omission that is determined in a Final Order of the Bankruptcy Court or other
court of competent jurisdiction to have constituted gross negligence or willful misconduct;
provided, further, that the Debtor will be entitled to rely upon the advice of counsel
concerning their duties pursuant to, or in connection with, the above referenced documents,
actions or inactions.

                (d)    Releases by the Debtor

       The Plan contains the Debtor’s release of the Released Parties which provides:

        Notwithstanding anything to the contrary in the Plan or the Confirmation Order,
effective as of the Effective Date, for good and valuable consideration provided by each of
the Released Parties, the adequacy of which is hereby acknowledged and confirmed, the
Debtor will be deemed to have conclusively, absolutely, unconditionally, irrevocably, and
forever provided a full discharge, waiver and release to the Released Parties and their
respective related parties (and each such Released Party and their respective related parties
so released shall be deemed forever released by the Debtor) and their respective properties
from any and all claims that the Debtor or any of their respective related parties would have
been legally entitled to assert in their own right, on their own behalf, or on behalf of another
party, against the Released Parties or their respective related parties; provided, however,
that the foregoing provisions of this release shall not operate to waive or release (i) the rights
of the Debtor to enforce the Plan and the contracts, instruments, releases and other
agreements or documents delivered under or in connection with the Plan or assumed
pursuant to the Plan or assumed pursuant to final order of the Bankruptcy Court; and/or
(ii) any defenses against a third party.
       The foregoing release shall be effective as of the Effective Date without further notice
to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
or rule or the vote, consent, authorization or approval of any Person and the Confirmation
Order will permanently enjoin the commencement or prosecution by any person, whether
directly, derivatively or otherwise, of any claims, obligations, suits, judgments, damages,
demands, debts, rights, causes of action, or liabilities released pursuant to this release.
                (e)    Releases by Third Parties

       The Plan also contains a release by third parties, including Creditors, in favor of the
Reorganized Debtor, the Plan Sponsor, the DIP Lender, the Noteholders and their respective
representatives, professionals and affiliates which provides:

To the extent allowed by applicable law, on, and as of, the Effective Date and for good and
valuable consideration, the receipt and sufficiency of which are acknowledged, the Debtor
and the Released Parties shall be forever released from any and all claims, obligations,
actions, suits, rights, debts, accounts, causes of action, remedies, avoidance actions,
agreements, promises, damages, judgments, demands, defenses, or claims in respect of
equitable subordination, and liabilities throughout the world under any law or court ruling
through the Effective Date (including all claims based on or arising out of facts or


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circumstances that existed as of or prior to the Effective Date, including claims based on
negligence or strict liability, and further including any derivative claims asserted on behalf
of the Debtor, whether known or unknown, foreseen or unforeseen, existing or hereinafter
arising, in law, equity or otherwise, that the Debtor, its Estate, or the Reorganized Debtor
would have been legally entitled by applicable law to assert in its own right, whether
individually or collectively) which the Debtor, its Estate, the Reorganized Debtor, Creditors
or other persons receiving or who are entitled to receive Distributions under the Plan may
have against any of them in any way related to the Chapter 11 Case or the Debtor (or its
predecessors); provided however that the foregoing release of the Released Parties is granted
only by the (a) Creditors who are unimpaired, (b) Interest Holders who returned a Ballot
and did not check the opt-out box on the Ballot, and (c) Interest Holders who were sent a
solicitation package but did not return a Ballot with the opt-out box checked; provided
further, however that the release provided in this Section 11.5 shall not apply to (i) any
Interest Holder in category (c) above if the solicitation package was returned to the Debtor
as undelivered, and that such Interest Holder did not otherwise return a ballot and (ii)
Interest Holders that are deemed to reject the Plant; and provided further, however, that the
release provided in this Section 11.5 shall not extend to any claims by any Governmental
Unit with respect to criminal liability under applicable law, willful misconduct or bad faith
under applicable law, or ultra vires acts under applicable law.

        With regard to all Released Parties, releases are appropriate for several reasons: (1) the
Plan is expected to be accepted by all impaired creditors; (2) each Released Party has made
substantial contributions in exchange for the releases provided for its benefit under the Plan,
including permitting the payment in full of all Allowed Class 4 General Unsecured Claims; (3)
each Released Party shared an identity of interest in the common goal of confirmation of the Plan;
and (4) the Debtor believes that the releases provided in the Plan are of little or no value to its
estate as the Debtor does not believe that any claims exist against any Released Party at this time.
ESW is entitled to releases under the Plan. As the Plan Sponsor, ESW has made substantial
contributions to the Plan. Without ESW, the Plan would not be possible and ESW would not serve
as Plan Sponsor.

               Conditions to Confirmation and Effectiveness

                (a)     Conditions to Confirmation

        The Confirmation Order will not be effective unless (a) the Confirmation Order shall be in
form and substance acceptable to the Plan Sponsor, in its reasonable discretion, and shall provide
for the Plan Sponsor and the DIP Lender, pursuant to the Subscription Option, and the Series A
Preferred Stockholder, pursuant to the Series A Preferred Exchange Option, to acquire the New
Equity, free and clear of all Liens, Claims, interests and encumbrances of any kind, except as
otherwise provided in the Plan, (b) the final version of the Plan, Plan Supplement, and any other
documents, or schedules thereto, shall have been filed in form and substance acceptable to the Plan
Sponsor in its reasonable discretion, and (c) no breach or failure to comply with the terms of the
DIP Order, the DIP Note, the RSA, the Plan or any other material order of the Bankruptcy Court
shall have occurred and be continuing.




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                (b)     Conditions to Effectiveness

        The Plan will not be effective unless (a) the conditions to confirmation above have been
either satisfied, or waived, by the Debtor and Plan Sponsor, (b) the Confirmation Order in form
and substance reasonably satisfactory to the Debtor and Plan Sponsor shall have been entered by
the Bankruptcy Court, confirming the Plan, and the Confirmation Order shall be in full force and
effect and not subject to any stay or injunction, (c) the Plan Documents shall have been executed
and delivered by all relevant parties, and any conditions (other than the occurrence of the Effective
Date or certification by the Debtor that the Effective Date has occurred) contained therein have
been satisfied or waived in accordance therewith, (d) the Cash Consideration shall have been
received by the Debtor or the Distribution Trust, (e) no breach or failure to comply with the terms
of the RSA, the Plan, the Confirmation Order or any other material Final Order of the Bankruptcy
Court shall have occurred and be continuing; (f) ESW shall acquire the New Equity, free and clear
of all Liens, Claims, interests and encumbrances of any kind, except as otherwise provided in the
Plan, (g) the Debtor has not caused, or as to Insiders, permitted to occur, a Material Adverse
Change with respect to the Debtor’s Intellectual Property, and (h) no “ownership change” as such
term is used in section 382 of title 26 of the United States Code, shall have occurred on or after
the Petition Date.

               Modification, Revocation or Withdrawal of the Plan

                (a)     Defects, Omissions, and Amendments of the Plan

        The Debtor may, with the consent of the Plan Sponsor and the approval of the Bankruptcy
Court and without notice to holders of Claims and Interests, insofar as it does not materially and
adversely affect holders of Claims and Interests, correct any defect, omission, or inconsistency in
the Plan in such a manner and to such extent necessary or desirable to expedite the execution of
the Plan. The Debtor may, with the consent of the Plan Sponsor, propose amendments or
alterations to the Plan before the Confirmation Hearing as provided in section 1127 of the
Bankruptcy Code if, in the opinion of the Bankruptcy Court, the modification does not materially
and adversely affect the interests of holders of Claims and Interests, so long as the Plan, as
modified, complies with sections 1122 and 1123 of the Bankruptcy Code and the Debtor has
complied with section 1125 of the Bankruptcy Code. The Debtor may, with the consent of the
Plan Sponsor, propose amendments or alterations to the Plan after the Confirmation Date but prior
to substantial consummation, in a manner that, in the opinion of the Bankruptcy Court, does not
materially and adversely affect holders of Claims and Interests, so long as the Plan, as modified,
complies with sections 1122 and 1123 of the Bankruptcy Code, the Debtor has complied with
section 1125 of the Bankruptcy Code, and after notice and a hearing, the Bankruptcy Court
confirms such Plan, as modified, under section 1129 of the Bankruptcy Code.

                (b)     Withdrawal of the Plan

       The Debtor reserves the right to withdraw the Plan, provided that the Plan Sponsor
consents, at any time prior to the Confirmation Date. If the Debtor withdraws the Plan prior to the
Confirmation Date, or if the Confirmation Date does not occur by October 16, 2020, unless
otherwise extended by mutual agreement of the Debtor and the Plan Sponsor, or the Effective Date
does not occur by October 23, 2020, unless otherwise extended by mutual agreement of the Debtor



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and the Plan Sponsor, then the Plan shall be deemed null and void. In such event, nothing contained
herein shall be deemed to constitute an admission, waiver or release of any claims by or against
the Debtor or any other person, or to prejudice in any manner the rights of the Debtor, the Debtor’s
Estate, or any person in any further proceedings involving the Debtor.

               Retention of Jurisdiction

                (a)      Bankruptcy Court Jurisdiction

        Notwithstanding the entry of the Confirmation Order or the occurrence of the Effective
Date, the Bankruptcy Court shall retain and have such jurisdiction over the Chapter 11 Case to the
maximum extent as is legally permissible, including, without limitation, for the following
purposes:

                i.       To allow, disallow, determine, liquidate, classify or establish the priority or
secured or unsecured status of or estimate any Claim or Interest, including, without limitation, the
resolution of any request for payment of any Administrative Claim and the resolution of any and
all objections to the allowance or priority of Claims or Interests;

               ii.     To ensure that Distributions to holders of Allowed Claims are accomplished
pursuant to the provisions of the Plan;

                iii.   To determine any and all applications or motions pending before the
Bankruptcy Court on the Effective Date of the Plan, including without limitation any motions for
the rejection, assumption or assumption and assignment of any Executory Contract;

               iv.   To consider and approve any modification of the Plan, remedy any defect
or omission, or reconcile any inconsistency in the Plan, or any order of the Bankruptcy Court,
including the Confirmation Order;

                v.    To determine all controversies, suits and disputes that may arise in
connection with the interpretation, enforcement or consummation of the Plan or any Plan
Documents or any entity’s obligations in connection with the Plan or any Plan Documents, or to
defend any of the rights, benefits, Estate Property transferred, created, or otherwise provided or
confirmed by the Plan or the Confirmation Order or to recover damages or other relief for
violations thereof;

                vi.    To consider and act on the compromise and settlement of any claim or cause
of action by or against the Debtor, the Estate, the Reorganized Debtor or the Distribution Trustee;

               vii.   To decide or resolve any and all applications, motions, adversary
proceedings, contested or litigated matters, and any other matters, or grant or deny any applications
involving the Debtor, or the Estate that may be pending on the Effective Date or that may be
brought by the Debtor, the Reorganized Debtor, or the Distribution Trustee (as applicable), or any
other related proceedings by the Reorganized Debtor, and to enter and enforce any default
judgment on any of the foregoing;

               viii.   To decide or resolve any and all applications for compensation;



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               ix.     To issue orders in aid of execution and implementation of the Plan or any
Plan Documents to the extent authorized by section 1142 of the Bankruptcy Code or provided by
the terms of the Plan;

             x.      To decide issues concerning the federal or state tax liability of the Debtor
which may arise in connection with the confirmation or consummation of the Plan or any Plan
Documents;

              xi.    To interpret and enforce any orders entered by the Bankruptcy Court in the
Chapter 11 Case; and

              xii.    To enter an order closing this Chapter 11 Case when all matters
contemplating the use of such retained jurisdiction have been resolved and satisfied.

                (b)     Limitations on Jurisdiction

        In no event shall the provisions of the Plan be deemed to confer in the Bankruptcy Court
jurisdiction greater than that established by the provisions of 28 U.S.C. §§ 157 and 1334, as well
as the applicable circumstances that continue jurisdiction for defense and enforcement of the Plan
and Plan Documents. For the avoidance of doubt, however, such jurisdiction shall be deemed, by
the entry of the Confirmation Order, to:
                 i.      Permit entry of a final judgment by the Bankruptcy Court in any core
proceeding referenced in 28 U.S.C. § 157(b) and to hear and resolve such proceedings in
accordance with 28 U.S.C. § 157(c) and any and all related proceedings, including, without
limitation, (i) all proceedings concerning disputes with, or Rights of Action or Claims against, any
Person that the Debtor, the Estate, the Distribution Trust or the Reorganized Debtor or any of their
successors or assigns, may have, and (ii) any and all Rights of Action or other Claims against any
Person for harm to or with respect to (x) any Estate Property, including any infringement of
Intellectual Property or conversion of Estate Property, or (y) any Estate Property liened or
transferred by the Debtor to any other Person;

                ii.   Include jurisdiction over the recovery of any Estate Property (or property
transferred by the Debtor with Bankruptcy Court approval) from any Person wrongly asserting
ownership, possession or control of the same, whether pursuant to sections 542, 543, 549, 550 of
the Bankruptcy Code or otherwise, as well as to punish any violation of the automatic stay under
section 362 of the Bankruptcy Code or any other legal rights of the Debtor or the Estate under or
related to the Bankruptcy Code; and

              iii.    Permit the taking of any default judgment against any Person who has
submitted himself or herself to the jurisdiction of the Bankruptcy Court.




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                                   ARTICLE V.        RISK FACTORS

          A.      Risks Related to Bankruptcy

                1.        Parties May Object to the Plan’s Classification of Claims and
                          Interests

        Bankruptcy Code section 1122 provides that a plan may place a claim or an interest in a
particular class only if such claim or interest is substantially similar to the other claims or interests
in such class. The Debtor believes that the classification of the Claims and Interests under the Plan
complies with the requirements set forth in the Bankruptcy Code because the Debtor created
Classes of Claims and Interests, each encompassing Claims or Interests, as applicable, that are
substantially similar to the other Claims or Interests in each such Class. Nevertheless, there can be
no assurance that the Bankruptcy Court will reach the same conclusion.

                2.        The Debtor May Not Be Able to Obtain Confirmation of the Plan

       With regard to any proposed plan of reorganization, the Bankruptcy Court might not
confirm the Plan as proposed if the Bankruptcy Court finds that any of the statutory requirements
for confirmation under Bankruptcy Code section 1129 have not been met.

                3.        The Conditions Precedent to the Effective Date of the Plan May Not
                          Occur

       As more fully set forth in the Plan, the Effective Date is subject to certain conditions
precedent. If such conditions precedent are not met or waived, the Effective Date will not occur.

                4.        Allowed Claims May Exceed Estimates

        The projected distributions set forth in this Disclosure Statement are based upon, among
other things, good faith estimates of the total amounts of Claims and Interests that will ultimately
be Allowed. The actual amount of Allowed Claims, could be materially greater than anticipated,
which could impact the distributions to be made to holders of Claims and Equity.

          B.         Risks Related to Financial Information

        The financial information contained in this Disclosure Statement has not been audited.
In preparing this Disclosure Statement, the Debtor relied on financial data derived from the
Debtor’s books and records and schedules and statements that was available at the time of such
preparation. Although the Debtor has used reasonable efforts to assure the accuracy of the
financial information provided in this Disclosure Statement the Debtor is unable to warrant or
represent that the financial information contained herein and attached hereto is without
inaccuracies.




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                                      ARTICLE VI.
                               CONFIRMATION OF THE PLAN

          A.       The Confirmation Hearing

        Bankruptcy Code section 1128(a) requires the Bankruptcy Court, after notice, to hold a
hearing on Confirmation of the Plan. Bankruptcy Code section 1128(b) provides that any party in
interest may object to Confirmation of the Plan.

        Immediately after the Petition Date, the Debtor will file the Procedures Motion requesting,
among other things, the Bankruptcy Court to schedule a Confirmation Hearing no later than thirty-
five (35) days after the Petition Date. The hearing will be held before the United States Bankruptcy
Judge assigned to the Chapter 11 Case in the United States Bankruptcy Court for the District of
Delaware, 824 North Market Street, 6th Floor, Wilmington, Delaware 19801. The Confirmation
Hearing may be adjourned from time to time without further notice except for an announcement
of the adjourned date made at the Confirmation Hearing or any adjournment thereof.

       Objections to Confirmation of the Plan must be filed and served as provided in the
Procedures Order. Unless objections to Confirmation of the Plan are timely served and filed
in compliance with the Procedures Order, they may not be considered by the Bankruptcy
Court.

         B.        Requirements for Confirmation of the Plan

        Among the requirements for the Confirmation of the Plan is that the Plan (i) is accepted by
all Impaired Classes of Claims or Interests, or, if rejected by an Impaired Class of Claims or
Interests, that the Plan “does not discriminate unfairly” and is “fair and equitable” as to such
Impaired Class of Claims or Interests; (ii) is feasible; and (iii) is in the “best interests” of Holders
of Claims or Interests.

        At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan
satisfies the requirements of Bankruptcy Code section 1129. The Debtor believes that: (i) the Plan
satisfies or will satisfy all of the necessary statutory requirements of chapter 11 of the Bankruptcy
Code; (ii) the Debtor has complied or will have complied with all of the necessary requirements
of chapter 11 of the Bankruptcy Code; and (iii) the Plan has been proposed in good faith.
Specifically, in addition to other applicable requirements, the Debtor believes that the Plan satisfies
or will satisfy the following applicable Confirmation requirements of Bankruptcy Code section
1129:

                   The Plan complies with the applicable provisions of the Bankruptcy Code.

                   The Debtor, as a plan proponent, has complied with the applicable provisions
                    of the Bankruptcy Code.

                   The Plan has been proposed in good faith and not by any means forbidden by
                    law.

                   Any payment made or promised under the Plan for services or for costs and



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                    expenses in, or in connection with, the Chapter 11 Case, or in connection with
                    the Plan and incident to the Chapter 11 Case, has been disclosed to the
                    Bankruptcy Court, and any such payment: (1) made before the Confirmation of
                    the Plan is reasonable; or (2) is subject to the approval of the Bankruptcy Court
                    as reasonable, if it is to be fixed after Confirmation of the Plan.

                   Either each holder of a Claim in an Impaired Class has accepted the Plan, or
                    will receive or retain under the Plan on account of such Claim or Interest
                    property of a value, as of the Effective Date of the Plan, that is not less than the
                    amount that such holder would receive or retain if the Debtor were liquidated
                    on the Effective Date of the Plan under chapter 7 of the Bankruptcy Code.

                   Each Class of Claims that is entitled to vote on the Plan will have accepted the
                    Plan.

                   Except to the extent a different treatment is agreed to, the Plan provides that all
                    Administrative Claims and Allowed Priority Tax Claims will be paid in full on
                    the Effective Date, or as soon thereafter as is reasonably practicable.

                   At least one Class of Impaired Claims will have accepted the Plan, determined
                    without including any acceptance of the Plan by any insider holding a Claim in
                    that Class.

                   Confirmation of the Plan is not likely to be followed by the liquidation or the
                    need for further financial reorganization of the Debtor or any successors thereto.

                   All accrued and unpaid fees of the type described in 28 U.S.C. § 1930, including
                    the fees of the U.S. Trustee, will be paid as of the Effective Date.

          C.       Best Interests of Creditors

         In order to satisfy this test, each Holder of a Claim or Interest in an impaired Class must
either (i) accept the plan or (ii) receive or retain under the plan cash or property of value, as of the
effective date of the plan, that is not less than the value such Holder would receive or retain if the
debtor was liquidated under chapter 7 of the Bankruptcy Code. The Debtor believe that Holders
of Claims against and Interests in the Debtor will receive an equal or greater recovery under the
Plan than they would in a chapter 7 liquidation for the following reasons.

        As discussed above, the Debtor’s management engaged in a comprehensive full-scale
search for new investments in and/or a purchaser of the Debtor’s assets prior to the Petition Date.
Management was unable to locate additional investors and it became clear that a sale of the Debtor
was the most realistic option. The Debtor received a number of proposals in connection with a
possible sale and determined that the best available option was a proposal from ESW, which is
embodied in the Plan.

       As set forth more fully above, the Plan generally provides for ESW to provide
consideration of $6,000,000 million as the Plan Sponsor, plus additional cash to be funded by the
Plan Sponsor in an amount equal to the undrawn portion (as of the Effective Date) of $1,000,000



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of DIP financing. These funds will be used to pay all Claims against the Debtor in full other than
the Class 1 Claims of Consenting Lender, who agreed to subordinate its claim in order for all other
creditors to be paid in full. The Plan also provides for an orderly sale of the Debtor’s Intellectual
Property in order to maximize its value. The Intellectual Property comprises the Debtor’s only
asset of material value in a liquidation scenario. The Debtor believes that the orderly sale process
will require the retention of a consultant at a significant expense. Pursuant to the Patent
Agreement, the Reorganized Debtor and the Distribution Trust will share the proceeds of any sale
proceeds and the Distribution Trust will distribute its share in accordance with the Plan.

        The Debtor will have virtually no cash available if the Plan is not confirmed. Accordingly,
in a chapter 7, the trustee would have no readily available source of cash for payments to creditors
and no cash available to fund the liquidation the Debtor’s assets other than a $20,000 carve out
from the DIP Financing. The Debtor submits that (i) this will be insufficient for the trustee to
conduct any or orderly sale of the Intellectual Property and (ii) a fire sale of the Intellectual
Property would generate minimal, if any proceeds. Furthermore, since the Intellectual Property is
fully encumbered by pre-petition liens of the SFC Secured Creditors Trust (and will be
encumbered by a priming lien of the DIP Lender upon its funding of the DIP), there will be no
unencumbered assets for a chapter 7 trustee to sell, it is likely the chapter 7 trustee would simply
elect to abandon the Intellectual Property to the DIP Lender and/or the SFC Secured Creditors
Trust.

        Moreover, under the Plan, the Debtor will avoid the increased costs and expenses of a
chapter 7 liquidation, including the fees payable to a chapter 7 trustee and his or her professionals.
The Cash (if any) to be distributed to Creditors would be reduced by the chapter 7 trustee’s
statutory fee, which is calculated on a sliding scale from which the maximum compensation is
determined based on the total amount of moneys disbursed or turned over by the Chapter 7 trustee.
Bankruptcy Code § 326(a) permits reasonable compensation not to exceed 3% of the proceeds in
excess of $1 million distributable to creditors. Moreover, the Debtor believes that the Chapter 7
trustee’s professionals, including legal counsel and accountants, would add substantial
administrative expenses that would be entitled to be paid ahead of Allowed Claims against the
Debtor. If the Plan is confirmed, the Reorganized Debtor’s expenses, including its legal fees,
would be paid by the Reorganized Debtor and not dilute the funds available for payments to
creditors.

       Further, the Debtor expects that it will borrow at least $500,000 from the DIP Lender
during the Chapter 11 Case. The Debtor will not be required to pay any amounts borrowed from
the DIP Lender if the Plan is confirmed and becomes effective. In a chapter 7, the trustee would
be required to satisfy the DIP.

       Based on the foregoing and the liquidation analysis attached as Exhibit A, the Debtor
believes that in a chapter 7, the chapter 7 trustee would either elect to abandon the Intellectual
Property or else DIP the Lender and/or the SFC Secured Creditors Trust would foreclose on the
Debtor’s assets. In either event, no other Holders of Claims or Interests would receive any
recovery. In contrast, the Plan pays the Allowed Claims of unsecured creditors in full and leaves
open the possibility that the Holders of Class 6 Common Stock may receive some distribution if
the IP Recovery is sufficient to satisfy the Claims of the Consenting Secured Creditor in full.
Holders of Class 4 General Unsecured Claims and Class 6 Common Stock would not receive any



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Recovery in a chapter 7. Accordingly, the Plan satisfies the “best interests” testify with respect to
Class 6 and Class 7.

         D.      Feasibility

        Bankruptcy Code section 1129(a)(11) requires that confirmation of the plan is not likely to
be followed by the liquidation, or the need for further financial reorganization of the Debtor, or
any successor to the Debtor (unless such liquidation or reorganization is proposed in the plan). To
determine whether the Plan meets this feasibility requirement, the Debtor and Plan Sponsor have
analyzed the ability of the Reorganized Debtor to meet its obligations under the Plan. Further, as
discussed herein, the Debtor and Plan Sponsor believe that the Reorganized Debtor will be viable
following the Effective Date, and that the Plan therefore meets the feasibility requirements of the
Bankruptcy Code. The Debtor shall present further information and evidence regarding feasibility
as may be necessary in connection with Confirmation of the Plan. In any event, the Plan
contemplates the funding of all Consideration by the Plan Sponsor on the Effective Date, and
therefore creditor recoveries are not impacted by the Reorganized Debtor’s post-Effective Date
feasibility.

         E.      Acceptance by Impaired Classes

        The Bankruptcy Code requires, as a condition to confirmation, that, except as described in
the following section, each class of claims or interests that is impaired under a plan accept the plan.
A class that is not “impaired” under a plan is deemed to have accepted the plan and, therefore,
solicitation of acceptances with respect to such class is not required.

        A class is “impaired” unless a plan: (a) leaves unaltered the legal, equitable and contractual
rights to which the claim or the interest entitles the holder of such claim or interest; or (b) cures
any default, reinstates the original terms of such obligation, compensates the holder for certain
damages or losses, as applicable, and does not otherwise alter the legal, equitable or contractual
rights to which such claim or interest entitles the holder of such claim or interest.

        Bankruptcy Code section 1126(c) defines acceptance of a plan by a class of claims as
acceptance by holders of at least two-thirds in dollar amount and more than one-half in number of
allowed claims in that class, counting only those claims that actually voted to accept or reject the
plan. Thus, a Class of impaired Claims will have voted to accept the Plan only if two-thirds in
amount and a majority in number actually voting cast their Ballots in favor of acceptance. Here,
Classes 1 and 5 are impaired under the Plan. Both Classes are expected to vote unanimously to
accept the Plan.

       Bankruptcy Code section 1126(d) defines acceptance of a plan by a class of interests as
acceptance by holders of such interests, other than any entity designated under subsection
Bankruptcy Code section 1126(e), that hold at least two-thirds in amount of the allowed interests
of such class held by holders of such interests, other than any entity designated under Bankruptcy
Code section 1126(e), that have accepted or rejected such plan. Here, Classes 6 and 7 are impaired
under the Plan.




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         F.         Confirmation Without Acceptance by All Impaired Classes

        Bankruptcy Code Section 1129(b) allows a Bankruptcy Court to confirm a plan even if all
impaired classes have not accepted it, provided that if there is an impaired class of claims, the plan
has been accepted by at least one impaired class of claims, determined without including the
acceptance of the plan by any insider. Notwithstanding an impaired class’s rejection or deemed
rejection of the plan, such plan will be confirmed, at the plan proponent’s request, in a procedure
commonly known as “cramdown,” so long as the plan does not “discriminate unfairly” (as
discussed below) and is “fair and equitable” (as discussed below) with respect to each class of
claims or interests that is impaired under, and has not accepted, the plan.

      Classes 6 and 7 are deemed to have rejected the Plan. As a result, the Debtor will request
Confirmation of the Plan under Bankruptcy Code section 1129(b).

       The Debtor reserves the right to alter, amend, modify, revoke, or withdraw the Plan, the
Plan Supplement, or any schedule or exhibit, including to amend or modify it to satisfy the
requirements of Bankruptcy Code section 1129(b), if necessary, subject to the written approval of
the Plan Sponsor.

               1.       One Impaired Class of Creditors has Accepted the Plan

        The Debtor believes that the Plan satisfies these requirements that one accepting class of
claims has voted to accept the Plan. The only Class of Impaired Creditors is Class 1. The Holder
of Class 1 Claim, the SFC Secured Creditors Trust, whose beneficial owners are all insiders, voted
to accept the Plan. Given that there are no non-insider Holders of Impaired Claims, the Debtor
submits that, because the only Impaired Class of Claims voted to accept the Plan, the Plan satisfies
this requirement.


               2.       No Unfair Discrimination

         The “unfair discrimination” test applies to classes of claims or interests that reject or are
deemed to have rejected a plan and that are of equal priority with another class of claims or interests
that is receiving different treatment under such plan. The test does not require that the treatment
of such classes of claims or interests be the same or equivalent, but that such treatment be “fair.”
In general, bankruptcy courts consider whether a plan discriminates unfairly in its treatment of
classes of claims of equal rank (e.g., classes of the same legal character). Bankruptcy courts will
take into account a number of factors in determining whether a plan discriminates unfairly, and,
accordingly, a plan could treat two classes of unsecured creditors differently without unfairly
discriminating against either class. The Debtor submits that t the Plan is structured such that it does
not “discriminate unfairly” against any rejecting Class.

               3.       Fair and Equitable Test

        The “fair and equitable” test applies to classes that reject or are deemed to have rejected a
plan and are of different priority and status vis-à-vis another class (e.g., secured versus unsecured
claims, or unsecured claims versus equity interests), and includes the general requirement that no
class of claims receive more than 100% of the amount of the allowed claims in such class,


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including interest. As to the rejecting class, the test sets different standards depending upon the
type of claims or interests in such rejecting class.

        The Debtor submits that the Plan satisfies the “fair and equitable” test as no non-accepting
Impaired Class will receive or retain payments or distributions, on account of their Claims or
Interests, sufficient to permit full satisfaction of such Claims before junior Classes receive or retain
any property on account of such junior Claims. The Plan satisfies the absolute priority rule
specifically with respect to Class 6 because no Classes junior to Classes 6 or 7 will receive or
retain any property under the Plan.

                                     ARTICLE VII.
                            TAX CONSEQUENCES OF THE PLAN

     THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX. ALL HOLDERS OF CLAIMS AGAINST AND EQUITY INTERESTS IN
THE DEBTOR SHOULD CONSULT WITH THEIR TAX ADVISORS AS TO THE
PARTICULAR TAX CONSEQUENCES TO THEM OF THE TRANSACTIONS
CONTEMPLATED BY THE PLAN, INCLUDING THE APPLICABILITY AND EFFECT
OF ANY STATE, LOCAL OR FOREIGN TAX LAWS AND OF ANY CHANGE IN
APPLICABLE TAX LAWS.

                 ARTICLE VIII.         CERTAIN SECURITIES LAW MATTERS

          A.     In General

        As provided in Section 13.4 of the Plan, the Debtor believes that the offering and issuance
of any rights by any party, including without limitation ESW or the Estate, under, pursuant to or
in effecting the Plan, including, without limitation, the New Equity in the Reorganized Debtor,
shall be exempt from the registration requirements of Section 5 of the Securities Act of 1933 (the
“Securities Act”), if applicable, and from any state or federal securities laws requiring registration
for offer or sale of a security or registration or licensing of an issuer of, underwriter of, or broker
or dealer in, a security, and shall otherwise enjoy all exemptions available for Distributions of
securities under a plan of reorganization in accordance with all applicable law, including without
limitation section 1145 of the Bankruptcy Code. If the issuance of the New Equity does not qualify
for an exemption under section 1145 of the Bankruptcy Code, the New Equity, as the case may be,
shall be issued in a manner which qualifies for any other available exemption from registration,
whether as a private placement, pursuant to Section 4(2) of the Securities Act and/or safe harbor
provisions promulgated thereunder, including Rule 506 under the Securities Act.

         B.      Distribution Trust Related Matters

               1.      Initial Issuance of Beneficial Interests

        Unless an exemption is available, the offer and sale of a security generally is subject to
registration with the United States Securities and Exchange Commission (the “SEC”) under
Section 5 of the Securities Act of 1933, as amended (the “Securities Act”). In the opinion of the
Debtor, and based on “no action” letters by the SEC, the Beneficial Interests will not be considered
“securities” within the definition of Section 2(11) of the Securities Act and corresponding


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definitions under state securities laws and regulations (“Blue Sky Laws”) because the Beneficial
Interests will be uncertificated and non-transferable other than by operation of law. Accordingly,
the Beneficial Interests should be issuable in accordance with the Plan without registration under
the Securities Act or any Blue Sky Law.

        Alternatively, in the event that the Beneficial Interests are deemed to constitute securities,
Bankruptcy Code section 1145(a)(1) of the Bankruptcy Code exempts the offer and sale of
securities under a plan of reorganization from registration under the Securities Act and Blue Sky
Laws if three principal requirements are satisfied:

       A.      the securities are offered and sold under a plan of reorganization and are
       securities of the debtor, of an affiliate of the debtor participating in a joint plan with
       the debtor, or of a successor to the debtor under the plan;

       B.      the recipients of the securities hold a pre-petition or administrative claim
       against the debtor or an interest in the debtor; and

       C.      the securities are issued entirely in exchange for recipient’s claim against or
       interest in the debtor, or principally in such exchange and partly for cash or property.

        If and to the extent that the Beneficial Interests may constitute securities, the Debtor
believes that these beneficial interests issued in respect of certain Allowed Claims will qualify as
securities “of the debtor … or of a successor to the debtor” pursuant to Bankruptcy Code section
1145(a)(1). In addition, the Beneficial Interests will be issued entirely in exchange for such Claims
and Interests. Thus, the Debtor believes that the issuance of the Beneficial Interests pursuant to the
Plan will satisfy the applicable requirements of Bankruptcy Code section 1145(a)(1), and that such
issuance should be exempt from registration under the Securities Act and any applicable Blue Sky
Law.

        The Debtor believes that their reliance upon the foregoing exemptions in respect of the
issuance of the Beneficial Interests is consistent with positions taken by the SEC with respect to
similar transactions and arrangements by other chapter 11 trustees. However, the Debtor has not
sought any “no-action” letter by the SEC with respect to any such matters, and therefore no
assurance can be given regarding the availability of any exemptions from registration with respect
to any securities, if any, issued pursuant to the Plan.

               2.      Resales

        The Beneficial Interests will be subject to transfer restrictions under the terms of the
Distribution Trust Agreement. As provided in said agreement, generally, the Beneficial Interests
cannot be assigned or transferred other than by operation of law, and will not be represented by
certificates.

               3.      Exchange Act Compliance

        Section 12(g) of the Securities Exchange Act of 1934, as amended (the “Exchange Act”),
applies only to a company that has both (i) total assets in excess of $10.0 million and (ii) a class



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of equity securities held of record by more than 2,000 persons or 500 persons who are not
accredited investors (within 120 days after the last day of the company’s fiscal year). The Debtor
believes it unlikely condition (i) will be deemed satisfied in respect to the Distribution Trust and
Beneficial Interests, and in any event, the Distribution Trust should not be required to register
under Section 12(g) of the Exchange Act. The Debtor understands that the staff of the SEC has
issued no-action letters with respect to the non-necessity of Exchange Act registration of a
bankruptcy plan trust when the following are true:

               A.     the beneficial interests in the trust are not represented by certificates
       or, if they are, the certificates bear a legend stating that the certificates are
       transferable only upon death or by operation of law;

              B.      the trust exists only to effect a liquidation and will terminate within
       a reasonable period of time; and

              C.      the trust will issue annual unaudited financial information to all
       beneficiaries.

        Based on the foregoing, the Debtor believes that the Distribution Trust will not be subject
to registration under the Exchange Act. However, the views of the SEC on the matter have not
been sought by the Debtor and, therefore, no assurance can be given regarding this matter.

               4.      Compliance if Required

        Notwithstanding the preceding discussion, if the Distribution Trustee, in relation to the
Distribution Trust, determines, with the advice of counsel, that the Distribution Trust is required
to comply with the registration and reporting requirements of the Exchange Act, then prior to the
registration of the Distribution Trust under the Exchange Act, the Distribution Trustee (subject to
the terms of the Distribution Trust Agreement) will seek to amend the Distribution Trust
Agreement, to make such changes as are deemed necessary or appropriate to ensure that the
Distribution Trust is not subject to registration or reporting requirements of the Exchange Act. The
Distribution Trust Agreement, as so amended, will be effective after notice and opportunity for a
hearing, and the entry of an order of the Bankruptcy Court.

       If the Distribution Trust Agreement, as amended, is not approved by the Bankruptcy Court
or the Bankruptcy Court otherwise determines in a Final Order that registration under the
Exchange Act (or any other related or similar federal laws) is required, then the Distribution
Trustee will take such actions as may be required to satisfy the registration and reporting
requirements of the Exchange Act (or any other related or similar federal laws).




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                         ARTICLE IX.       POSITION OF THE DEBTOR.

        In the opinion of the Debtor, the Plan is preferable to the alternatives described in this
Disclosure Statement because it provides for a larger distribution to Holders of Allowed Claims
and Interests than would otherwise result in a liquidation under chapter 7 of the Bankruptcy Code.
In addition, any alternative other than confirmation of the Plan could result in extensive delays and
increased administrative expenses resulting in smaller distributions to Holders of Allowed Claims
and Interests than proposed under the Plan.

                                              Respectfully submitted,

                                              SECURITY FIRST CORP.



                                                  /s/ Pankaj Parekh
                                              By: ______________________________
                                                  Pankaj Parekh

                                              Its: Chief Executive Officer

                                                      -and-

Dated: August 31, 2020                         SULLIVAN · HAZELTINE ·ALLINSON LLC

                                               /s/ William D. Sullivan
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